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· · · · · · · IN THE UNITED STATES DISTRICT COURT

· · · · · · · ·FOR THE SOUTHERN DISTRICT OF NEW YORK

· · · · · · · · ·Case No. 14-MD-02542-VSB

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· · ·IN RE:· KEURIG GREEN MOUNTAIN SINGLE-SERVE

· · · · · · ·COFFEE ANTITRUST LITIGATION.

· · ·-------------------------------------------------

· · · · · · · · · · TRANSCRIPT OF

· · · · · · · · · · · VOLUME II

· · · · · · · · · · MOTION HEARING

· · · · · · · · · ·BEFORE HONORABLE

· · · · · · · · · · SARAH J. CAVE

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· · · · · · · ·TRANSCRIPT of the stenographic notes of the

· · ·proceedings in the above-entitled matter, as taken

· · ·by and before TAB PREWETT, a Registered Professional

· · ·Reporter, a Certified LiveNote Reporter, and

· · ·Certified Shorthand Reporter with all parties

· · ·present via Zoom videoconference on Wednesday,

· · ·January 12, 2022, commencing at 4 p.m. EST.


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·1

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·3· · · · · BERNARD POUND

·4

·5· · · · · STEPHEN COLE, ESQ.

·6· · · · · Keurig Dr. Pepper, Inc.

·7· · · · · Corporate Counsel

·8· · · · · Dallas, Texas

·9

10

11· ·ALSO PRESENT:

12

13· · · ·Craig Jones, US Legal Technical Assistant

14

15· · · ·Andrew Zampella, US Legal Technical Assistant

16

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·1· · · · · Keurig Antitrust Litigation - Volume II

·2· · · · · · · · · JUDGE CAVE:· All right.· Good

·3· · · · ·afternoon, again, everyone.· This is

·4· · · · ·Magistrate Judge Cave.· We are going back on

·5· · · · ·the record for oral argument on the sanctions

·6· · · · ·motion, In Re: Keurig Green Mountain

·7· · · · ·Single-Serve Coffee Antitrust Litigation, case

·8· · · · ·number 14-MD-2542.

·9· · · · · · · · · According to my notes, Mr. Badini, you

10· · · · ·had just finished slide number 22 yesterday,

11· · · · ·so please proceed.

12· · · · · · · · · MR. BADINI:· Yes, thank you, Your

13· · · · ·Honor for accommodating us, not only for a

14· · · · ·full day yesterday, but some additional time

15· · · · ·today.

16· · · · · · · · · Just to reorient the Court as to where

17· · · · ·I was, I've divided my presentation into three

18· · · · ·pieces:· No lost data, no prejudice, and the

19· · · · ·remedy.

20· · · · · · · · · We're still in the middle of no lost

21· · · · ·data.· I had finished discussing the case law.

22· · · · ·And, now, I would like to turn to some

23· · · · ·specific hold issues raised by Keurig.

24· · · · · · · · · And, Ms. Fitzgerald, can you put up

25· · · · ·the first slide, the Project Charter.


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·2· · · · · · · · · You heard a lot yesterday about

·3· · · · ·Project Charter, which is a TreeHouse project;

·4· · · · ·and the basis of that project, Keurig asserts

·5· · · · ·that the duty to preserve arose on October 24,

·6· · · · ·2013.· Of course, it goes without saying there

·7· · · · ·were no Court orders in place at the time so

·8· · · · ·we're not accused of violating any Court

·9· · · · ·orders.

10· · · · · · · · · There was also automatic archiving of

11· · · · ·email in place at that time since September of

12· · · · ·2013.· And I think you will see, when we look

13· · · · ·at the evidence, that all of this shows that

14· · · · ·the Project Charter group was focused on

15· · · · ·defensive issues, in particular, IP issues.

16· · · · ·And there was no discussion of suing Keurig.

17· · · · · · · · · And it's worth looking back at the law

18· · · · ·here -- and, you know, Keurig's point is that

19· · · · ·we should have issued a litigation hold before

20· · · · ·we filed the lawsuit.· I haven't found any

21· · · · ·case that they cite that has awarded sanctions

22· · · · ·of any kind basing on failing to give a

23· · · · ·litigation hold before either a notice of

24· · · · ·claim or a complaint was filed.

25· · · · · · · · · Now, in order to understand Project


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·2· · · · ·Charter, let's see what it was all about.

·3· · · · ·That was spelled out in one of the documents

·4· · · · ·that I think -- I think it's Keurig's

·5· · · · ·Exhibit C -- ECF 1298-3.· Let's take a look at

·6· · · · ·that, Ms. Fitzgerald, next slide, please.

·7· · · · · · · · · This was the goal of Project Charter:

·8· · · · · · · · · "Develop a holistic view and

·9· · · · ·comprehensive long range strategy for the

10· · · · ·company in the single-serve beverage

11· · · · ·category."

12· · · · · · · · · Now, you will see in the next set of

13· · · · ·bullets that they did view GMCR or Keurig as a

14· · · · ·threat.· No question.· But all the discussion

15· · · · ·is about responding defensively from -- to,

16· · · · ·rather, to that threat.

17· · · · · · · · · Now, Keurig in its presentation relied

18· · · · ·heavily on an October 24, 2013, letter from

19· · · · ·Sam Reed, who was the president of TreeHouse

20· · · · ·at the time, to the board, that suggests that

21· · · · ·Keurig -- that TreeHouse, rather, contemplated

22· · · · ·suing Keurig at this time.

23· · · · · · · · · However, the letter is seriously

24· · · · ·mischaracterized from -- I'm sorry to say.

25· · · · ·Let's first look at what Keurig says that


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·2· · · · ·letter was all about.· This is from their

·3· · · · ·reply brief.· Ms. Fitzgerald, next slide,

·4· · · · ·please.

·5· · · · · · · · · They say in October 2013 in response

·6· · · · ·to an anticipated launch of Keurig's 2.O

·7· · · · ·brewer:

·8· · · · · · · · · "TreeHouse launched Project Charter, a

·9· · · · ·three-prong attack, including legal action

10· · · · ·against Keurig.· TreeHouse testified it was

11· · · · ·consulting with outside counsel about legal

12· · · · ·action against Keurig" -- and they italicize

13· · · · ·"against" -- in the phrase "against Keurig."

14· · · · · · · · · Now, this is what the letter actually

15· · · · ·said.· Next slide, please.

16· · · · · · · · · I won't read every word, but Mr. Reed

17· · · · ·says that he's recognizing a risk, a strategic

18· · · · ·risk, and that risk is they have to -- it's

19· · · · ·the defense of single-serve beverage as GMCR

20· · · · ·introduces its 2.0 technology.· And he goes on

21· · · · ·to say:

22· · · · · · · · · "Project Charter has been initiated to

23· · · · ·mount a, quote, comprehensive defense agenda

24· · · · ·linking Foley & Lardner" -- not Winston &

25· · · · ·Strawn -- again, Foley & Lardner was the firm


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·2· · · · ·that represented them in the Sturm

·3· · · · ·litigation -- "and the law department and the

·4· · · · ·single-serve beverage team with outside

·5· · · · ·technology and engineering consultants."

·6· · · · · · · · · And it's not the disputed that those

·7· · · · ·outside technology and engineering

·8· · · · ·consultants, as Keurig later found out, were

·9· · · · ·hard at work on reverse engineering the ink of

10· · · · ·the 2.0 cup so that ultimately TreeHouse broke

11· · · · ·the code and made its cups work.

12· · · · · · · · · JUDGE CAVE:· Mr. Badini, can we just

13· · · · ·clarify the status of the work product

14· · · · ·assertion over Mr. Reed's letter?· I think

15· · · · ·what you said yesterday that you have produced

16· · · · ·it subject to rule 502(d); but that seems to

17· · · · ·me to mean that you still are asserting that

18· · · · ·it's protected by the work product

19· · · · ·privilege -- or do I have that wrong?

20· · · · · · · · · MR. BADINI:· Well, we are not

21· · · · ·asserting work product over it.

22· · · · · · · · · JUDGE CAVE:· Okay.

23· · · · · · · · · MR. BADINI:· That's point one.

24· · · · · · · · · But I also disagree with the

25· · · · ·assertion -- and Your Honor will remember this


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·2· · · · ·because we litigated one of these issues

·3· · · · ·before.

·4· · · · · · · · · I disagree with the assertion that

·5· · · · ·producing something under 502(d) necessarily

·6· · · · ·is a representation that you believe it is

·7· · · · ·privileged or work product.· In the

·8· · · · ·discussions with Judge Pitman leading up to

·9· · · · ·the order -- and this is in the record; it's

10· · · · ·in various transcripts -- he made it clear

11· · · · ·that parties may decide:

12· · · · · · · · · "I don't think this is privileged, but

13· · · · ·the other side may disagree or we may

14· · · · ·disagree.· And it's not worth the effort to

15· · · · ·fight over it.· So you just -- so you mark it

16· · · · ·502(d) to avoid a subject matter waiver.· But

17· · · · ·whether it's privileged or not may be a close

18· · · · ·call.

19· · · · · · · · · So if it will resolve the issue by

20· · · · ·saying we are not producing it under 502(d),

21· · · · ·so be it.· We don't -- we don't assert work

22· · · · ·product over it.

23· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

24· · · · · · · · · MR. BADINI:· Thank you.

25· · · · · · · · · Next slide, please.


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·2· · · · · · · · · I am not going to read all of this

·3· · · · ·either, but this is a series of quotes from

·4· · · · ·Keurig's CEO and Sam Reed's response about how

·5· · · · ·the ink was proprietary, how it was patented.

·6· · · · · · · · · And the reason they are relevant is it

·7· · · · ·shows TreeHouse had good reason to believe it

·8· · · · ·might be sued again on a patent issue as it

·9· · · · ·was in 2010.

10· · · · · · · · · JUDGE CAVE:· A quick point of fact:

11· · · · · · · · · When was the Sturm -- when did the

12· · · · ·Sturm litigation end?

13· · · · · · · · · MR. BADINI:· I am going to struggle

14· · · · ·for the exact date, but it ended, I think, in

15· · · · ·the summer of 2013.

16· · · · · · · · · JUDGE CAVE:· Okay.

17· · · · · · · · · MR. BADINI:· It may be Ms. Torpey or

18· · · · ·Ms. Fitzgerald can check me on that.· But

19· · · · ·there was a settlement agreement that I think

20· · · · ·was around the summer, June maybe, of 2013.

21· · · · · · · · · JUDGE CAVE:· Okay.· Thank you.

22· · · · · · · · · MR. BADINI:· Thank you.· And next

23· · · · ·slide.

24· · · · · · · · · We have already talked about this.              I

25· · · · ·won't belabor this.· I don't think that


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·2· · · · ·producing a document under 502(d) means that

·3· · · · ·it was privileged necessarily.· I think it

·4· · · · ·means that the parties may have a dispute over

·5· · · · ·it, and they want to avoid the dispute.

·6· · · · · · · · · But in any event, we are removing any

·7· · · · ·work product argument over it, and -- and the

·8· · · · ·Foley litigation, the litigation referenced in

·9· · · · ·that document, is not this litigation.· It

10· · · · ·talks about litigation strategy for Foley &

11· · · · ·Lardner, so I won't -- I won't belabor that.

12· · · · · · · · · The next notable event or incident

13· · · · ·relating to Project Charter was a November 15,

14· · · · ·2013 meeting that Keurig also relies upon.

15· · · · ·And let's look first at what they say about

16· · · · ·that meeting.· Next slide, please.

17· · · · · · · · · This is from Keurig's brief, ECF 1290.

18· · · · · · · · · "The Project Charter's hearing group

19· · · · ·met on November 15th.· TreeHouse's general

20· · · · ·counsel attended.· Agenda items included legal

21· · · · ·claims that appear in TreeHouse's complaint

22· · · · ·against Keurig.· At this meeting TreeHouse

23· · · · ·decided to pursue a three-pronged attack:

24· · · · ·Legal action against Keurig, reverse

25· · · · ·engineering, and engaging with retailers


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·2· · · · ·related to the 20.0 brewer."

·3· · · · · · · · · Now, the citations in footnote eight

·4· · · · ·are not on this slide, but I can tell you they

·5· · · · ·referenced three pages from that meeting dec;

·6· · · · ·and I would like to show all of the three

·7· · · · ·pages to see whether they really say what

·8· · · · ·Keurig suggests they say.

·9· · · · · · · · · Let's look at the first page, next

10· · · · ·slide, please.· Again, this is nothing about

11· · · · ·suing Keurig on this slide.· In fact, the

12· · · · ·title says:

13· · · · · · · · · "Overview of potential threat from

14· · · · ·GMCR."

15· · · · · · · · · Next slide, please.

16· · · · · · · · · This is entitled:

17· · · · · · · · · "GMCR aims to convert unlicensed share

18· · · · ·before launch," which is about their effort to

19· · · · ·convince retailers to go to Keurig instead of

20· · · · ·staying with TreeHouse.

21· · · · · · · · · It's all about those efforts and the

22· · · · ·fact that that was a serious concern for

23· · · · ·TreeHouse's business.· But there is nothing

24· · · · ·about any potential lawsuit about Keurig and

25· · · · ·no reference to possibly bringing claims


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·2· · · · ·against Keurig.

·3· · · · · · · · · Next slide.

·4· · · · · · · · · Now, this is the last slide that they

·5· · · · ·rely on in this dec purporting to show an

·6· · · · ·intent to sue Keurig or a reasonable

·7· · · · ·anticipation of suing Keurig.· This is about

·8· · · · ·the office coffee service market segment,

·9· · · · ·which is part of the "Away from Home" -- you

10· · · · ·heard about that.

11· · · · · · · · · And, again, they are talking about how

12· · · · ·Keurig dominates that market, dominated it

13· · · · ·then; it dominates it today.· And, you know,

14· · · · ·incidentally, there is nothing about again

15· · · · ·suing Keurig.

16· · · · · · · · · But Keurig says that the missing

17· · · · ·documents will show that TreeHouse decided not

18· · · · ·to compete in this market by its own choice.

19· · · · · · · · · Well, certainly, this was a part of

20· · · · ·the presentation.· TreeHouse cared about this

21· · · · ·market.· And you can see that they say in the

22· · · · ·slide, bottom left:

23· · · · · · · · · "Single-serve beverage market in the

24· · · · ·office coffee services segment is about

25· · · · ·$300 million," BDH -- I'm sorry -- "BVF,"


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·2· · · · ·which stands for Bay Valley Foods, which is

·3· · · · ·one the plaintiffs in this litigation, one of

·4· · · · ·the TreeHouse plaintiffs -- "owns three

·5· · · · ·million dollar shares."

·6· · · · · · · · · So even though math is not my forte, I

·7· · · · ·think I can even do that math.· So that's a 1

·8· · · · ·percent share of the office coffee service

·9· · · · ·market.

10· · · · · · · · · And we have shown -- and I don't think

11· · · · ·it's disputed in this litigation -- that there

12· · · · ·are dozens of contracts between Keurig and

13· · · · ·these distributors, hundreds, that preclude us

14· · · · ·from entering that market.· That's why we are

15· · · · ·not in that market.

16· · · · · · · · · So those are -- actually, there is one

17· · · · ·more slide Keurig relies upon.· And this one

18· · · · ·is the biggest mischaracterization of all.

19· · · · ·Let's take a look at the next slide.· They say

20· · · · ·that this slide shows contemplation of legal

21· · · · ·action against Keurig.· There is a box that

22· · · · ·says legal action.

23· · · · · · · · · But first of all, the title of the

24· · · · ·slide says:

25· · · · · · · · · "Three-Pronged Defense Approach For


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·2· · · · ·GMCR Threat."

·3· · · · · · · · · And then next to the box it says:

·4· · · · · · · · · "To be assessed," "To be assessed,"

·5· · · · ·future tense, "by our law department with

·6· · · · ·external counsel."

·7· · · · · · · · · So it was a defense presentation.· It

·8· · · · ·was a defense -- defensive posture that was

·9· · · · ·contemplated; and it was going to be assessed

10· · · · ·with external counsel, which means it did not

11· · · · ·and had not yet happened at this point in time

12· · · · ·in November of 2013.

13· · · · · · · · · Now, there are other pages in this

14· · · · ·November presentation that Keurig does not

15· · · · ·rely upon.· I would like to briefly show them

16· · · · ·to Your Honor because I think they are

17· · · · ·important, but before we do that -- I'm sorry.

18· · · · ·There is one point I would like to respond to.

19· · · · · · · · · Counsel yesterday showed a question

20· · · · ·and answer that was put to a 30(b)(6) witness,

21· · · · ·not even a witness in his individual capacity.

22· · · · ·And it was outside the scope of his 30(b)(6)

23· · · · ·testimony, and I objected on that ground --

24· · · · ·about what this language meant.· And let's

25· · · · ·look at the next slide, please.


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·2· · · · · · · · · This was the testimony that counsel

·3· · · · ·put up, yesterday.· So at this point the law

·4· · · · ·department is talking with external counsel

·5· · · · ·about a potential legal action against Keurig,

·6· · · · ·which is not at all what the slide says.              I

·7· · · · ·objected "beyond the scope."· The witness

·8· · · · ·said:

·9· · · · · · · · · "I would assume that to be correct

10· · · · ·given that's what's written there."

11· · · · · · · · · First of all, we can all read the

12· · · · ·document.· Keurig never showed that the

13· · · · ·witness had anything to do with that document.

14· · · · ·Mr. Vermillion, according to Keurig, was the

15· · · · ·president of TreeHouse.· That is true.· He was

16· · · · ·at one point in the distant past a president

17· · · · ·of TreeHouse.

18· · · · · · · · · He was not a president of TreeHouse

19· · · · ·when this lawsuit was brought.· He was a

20· · · · ·senior advisor to TreeHouse since July of

21· · · · ·2011.· There is no evidence he had anything to

22· · · · ·do with the decision to Sue Keurig.

23· · · · · · · · · Sam Reed, the president who did have

24· · · · ·something to do with the decision to sue

25· · · · ·Keurig, was not asked a single question about


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·2· · · · ·this document despite the fact that they took

·3· · · · ·his deposition for a whole day.

·4· · · · · · · · · Now, we can turn to some other pages I

·5· · · · ·would like to look brief -- I won't belabor

·6· · · · ·them, but let's briefly look at them from this

·7· · · · ·same dec.· Next page, please.

·8· · · · · · · · · The meeting objectives were to discuss

·9· · · · ·the defense strategy.· That's the very first

10· · · · ·page after the cover sheet.

11· · · · · · · · · JUDGE CAVE:· Just in the interests of

12· · · · ·time, Mr. Badini, I get the point.· And if

13· · · · ·it's in the slides, I will read it, so maybe

14· · · · ·we can just move on from it.

15· · · · · · · · · MR. BADINI:· Okay.· Why don't we --

16· · · · ·Ms. Fitzgerald, why don't you cycle through

17· · · · ·the slides, and I will tell what -- stop here

18· · · · ·one second.

19· · · · · · · · · This shows that TreeHouse was well

20· · · · ·aware that Keurig was still equivocating as

21· · · · ·late as near the end of October of 2013 about

22· · · · ·what they were going to do with their brewer,

23· · · · ·whether they were going to lock out TreeHouse

24· · · · ·or not.

25· · · · · · · · · Next slide, please.


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·2· · · · · · · · · Again, this shows that the whole

·3· · · · ·effort was reverse engineering, not suing

·4· · · · ·Keurig.· Next slide, please.

·5· · · · · · · · · The only point I'm making here -- and

·6· · · · ·the reason I'm putting this back up is to

·7· · · · ·show -- you see those little round numbers in

·8· · · · ·the three boxes, Your Honor, one, two, and

·9· · · · ·three?· One would expect to see detail

10· · · · ·following each of those numbers.

11· · · · · · · · · But if you go to the next slide --

12· · · · ·next slide, Ms. Fitzgerald -- you see that's

13· · · · ·the detail regarding number two.· We did not

14· · · · ·redact any part of this document.· This is how

15· · · · ·it appears in the ordinary course of business,

16· · · · ·which just reinforces the view that, with

17· · · · ·respect to the legal action, there was no

18· · · · ·detail.

19· · · · · · · · · As the slide shows, they had yet to

20· · · · ·have this assessed by legal counsel.

21· · · · · · · · · Next slide, please.

22· · · · · · · · · There are four different scenarios on

23· · · · ·this slide as to what might possibly happen.

24· · · · ·Actually, Your Honor, what happened in the

25· · · · ·real world was number three, Keurig 2.0 launch


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·2· · · · ·as a closed system.· But it was reverse

·3· · · · ·engineered.

·4· · · · · · · · · And the next step that TreeHouse was

·5· · · · ·contemplating, it says, "Same as number

·6· · · · ·three."· I believe that is a typo because that

·7· · · · ·is scenario three.· I think it means "same as

·8· · · · ·number two."

·9· · · · · · · · · But all of these scenarios, even

10· · · · ·number four, which is the most extreme, where

11· · · · ·TreeHouse cannot reverse engineer, there is

12· · · · ·nothing about.

13· · · · · · · · · Next slide, please.

14· · · · · · · · · And this is just showing that the

15· · · · ·counsel involved was Foley, and it was to

16· · · · ·discuss reverse engineering and IP issues.

17· · · · ·Next slide, please.

18· · · · · · · · · The point of this time line is to show

19· · · · ·that this "Charter Group," which later changed

20· · · · ·its name to the "Coffee Round Table," was not

21· · · · ·going to finish with its update -- if you look

22· · · · ·at the far right, bottom right graph -- until

23· · · · ·at or about the February 5, 2014 board

24· · · · ·meeting, which was where all of this was

25· · · · ·heading to, the February 5, 2014 board


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·2· · · · ·meeting, which was going to discuss strategic

·3· · · · ·options.

·4· · · · · · · · · Next slide, please.

·5· · · · · · · · · This is just in further support of the

·6· · · · ·point that the group was continuing to analyze

·7· · · · ·the situation.· This is in December 2013.· It

·8· · · · ·did change its name.· Again, there is nothing

·9· · · · ·about suing Keurig.· There are a couple of

10· · · · ·slides from this dec that I think are

11· · · · ·interesting.

12· · · · · · · · · Next slide, please.

13· · · · · · · · · This is the update.· Now, we are

14· · · · ·already into January of 2014.· This is now

15· · · · ·called the "Round Table Group."· It used to be

16· · · · ·"Project Charter."· And they are giving an

17· · · · ·update on where they are.· So let's look at

18· · · · ·what they say.· Next slide, please.· Okay.

19· · · · · · · · · On item four of this slide -- and this

20· · · · ·is ECF 1298 at slide 15:

21· · · · · · · · · "Legal and ER, IR" -- which I believe

22· · · · ·is "investor relations" -- "the next steps are

23· · · · ·on standby for any releases."

24· · · · · · · · · They were continuing to monitor what

25· · · · ·Keurig was saying in the public.· Next slide,


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·2· · · · ·please.

·3· · · · · · · · · And, again, the purpose -- the charter

·4· · · · ·of the Round Table was to formulate a business

·5· · · · ·plan.· Next slide, please.

·6· · · · · · · · · This is where counsel is mentioned

·7· · · · ·again, Foley & Lardner, under "Competitive

·8· · · · ·Intelligence," and their primary focus is

·9· · · · ·listed as "IP monitoring."· Next slide,

10· · · · ·please.

11· · · · · · · · · Now, we heard yesterday that -- and I

12· · · · ·don't remember the exact date; I apologize,

13· · · · ·Your Honor, but I am sure it's in Keurig's

14· · · · ·presentation to you -- there was a reference

15· · · · ·to a Bruce Toth from Winston appearing on a

16· · · · ·privilege log in late 2013.· I don't remember

17· · · · ·if it was late November or early December.

18· · · · · · · · · But I think the Court can take

19· · · · ·judicial notice of the fact he has never

20· · · · ·appeared in this case.· That is not a surprise

21· · · · ·since he is a mergers and acquisitions lawyer,

22· · · · ·not a litigator; and he's the relationship

23· · · · ·partner for the client.· So it's not

24· · · · ·surprising that he would have been sent a

25· · · · ·notice of some Keurig update on this


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·2· · · · ·situation.

·3· · · · · · · · · The first privilege log entry for any

·4· · · · ·Winston litigators is January 20, 2014, which

·5· · · · ·is a mere 15 days before the first round of

·6· · · · ·litigation holds.· Next slide, please.

·7· · · · · · · · · Actually, go back one.· I'm sorry.

·8· · · · ·Was there a question?

·9· · · · · · · · · (Reporter clarification.)

10· · · · · · · · · (There was a discussion off the

11· · · · ·record.)

12· · · · · · · · · MR. BADINI:· On the subject of the

13· · · · ·privilege log and the chronology, there was

14· · · · ·some confusion yesterday, and I just want to

15· · · · ·make the Court aware that we -- I think the

16· · · · ·chronology is pretty clear, and it's in the

17· · · · ·record that we submitted.

18· · · · · · · · · So January 20th, as shown in the

19· · · · ·privilege log, is the first privilege log

20· · · · ·entry for Winston litigators.· On

21· · · · ·January 28th, we begin drafting the complaint.

22· · · · ·That's in my declaration, ECF 1342, paragraph

23· · · · ·two.

24· · · · · · · · · And -- but this lawsuit -- and this is

25· · · · ·just common sense -- a lawsuit of this


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·2· · · · ·magnitude was not going to be brought on the

·3· · · · ·say-so of one business person.· As I said, the

·4· · · · ·whole Project Charter group was focused on the

·5· · · · ·upcoming board meeting, which was set for

·6· · · · ·February 5th.

·7· · · · · · · · · The board was going to consider

·8· · · · ·alternatives to litigation, as I said in my

·9· · · · ·declaration, again, paragraph four, which I

10· · · · ·attended.

11· · · · · · · · · So on February 5th, the board

12· · · · ·considered the possibility of litigation and

13· · · · ·other alternatives.· The litigation hold went

14· · · · ·out the day before.

15· · · · · · · · · Why?

16· · · · · · · · · Well, we knew that a board meeting was

17· · · · ·coming.· Obviously, I was preparing for it.

18· · · · ·This was one of the topics.

19· · · · · · · · · And so out of an excess of caution,

20· · · · ·the day before the board meeting, we did not

21· · · · ·know where the board was going to go with

22· · · · ·this.· We issued the hold.

23· · · · · · · · · And the -- so that 20 letter or email

24· · · · ·that was referenced yesterday as somehow

25· · · · ·suggesting litigation was coming -- I believe


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·2· · · · ·that was dated February 5th, which was after

·3· · · · ·the board meeting.

·4· · · · · · · · · But let's recap on Project Charter.               I

·5· · · · ·didn't belabor it -- counsel spent a long time

·6· · · · ·on it.· Next slide, please.

·7· · · · · · · · · We believe we have taken reasonable

·8· · · · ·steps to preserve, including, of course, the

·9· · · · ·automatic email archiving, the corporate

10· · · · ·policy, and so on.

11· · · · · · · · · As you saw there is no discussion of

12· · · · ·suing Keurig.· The focus was on IP defense.

13· · · · ·The only outside counsel that was mentioned

14· · · · ·was Foley -- by Keurig as to whether the 2.0

15· · · · ·would lock out unlicensed cups.

16· · · · · · · · · As we get into late November,

17· · · · ·December, January, yes, Keurig was being more

18· · · · ·definitive.· No question, Your Honor.

19· · · · · · · · · But as I said, this was not a decision

20· · · · ·that was going to be made by one executive --

21· · · · ·putting litigation holds -- which compares

22· · · · ·favorably to Keurig's own action.

23· · · · · · · · · JUDGE CAVE:· Mr. Badini, stop, stop.

24· · · · ·You are doing something that's interrupting

25· · · · ·your audio.· I am not hearing you, so I am


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·2· · · · ·assuming Mr. Prewett isn't hearing you either.

·3· · · · ·So I don't know if it's papers or your

·4· · · · ·microphone, but we just need to make sure that

·5· · · · ·you are not blocking your mic.

·6· · · · · · · · · MR. BADINI:· Can you hear me now?

·7· · · · · · · · · JUDGE CAVE:· That's better.

·8· · · · · · · · · MR. BADINI:· I think I was rustling

·9· · · · ·papers.· I will try to not do that.· I was

10· · · · ·saying -- and the timing of the litigation

11· · · · ·holds compared favorably to what Keurig did in

12· · · · ·the Sturm case.

13· · · · · · · · · And, again, there were no cases cited

14· · · · ·where sanctions were granted for not issuing

15· · · · ·litigation holds before a claim was filed.

16· · · · · · · · · JUDGE CAVE:· Maybe you are going --

17· · · · ·maybe you are going to get to this.· But I

18· · · · ·think part of the issue that I am wrestling

19· · · · ·with is that there were multiple meetings with

20· · · · ·the various customers during this time period,

21· · · · ·and you seem to only have really

22· · · · ·memorialization of two.

23· · · · · · · · · And so I understand all of the points

24· · · · ·you are making about, "When the hammer drops,

25· · · · ·yes, we are going to sue," but there is --


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·2· · · · ·those were pretty important meetings to this

·3· · · · ·litigation, and we don't seem to have much of

·4· · · · ·a record of them.

·5· · · · · · · · · So I don't know if you -- hopefully,

·6· · · · ·you will have that in your presentation.· If

·7· · · · ·can get to it when you get to it, but it's a

·8· · · · ·point that I'm struggling with.

·9· · · · · · · · · MR. BADINI:· It's actually where I'm

10· · · · ·going next.· I'm going to suppliers and then

11· · · · ·customers.

12· · · · · · · · · I will say that the Keurig also makes

13· · · · ·the assumption that there were meetings

14· · · · ·between TreeHouse and customers.· I don't

15· · · · ·think that assumption is supported by the

16· · · · ·record.

17· · · · · · · · · Some of them certainly were meetings

18· · · · ·between TreeHouse and customers.· TreeHouse

19· · · · ·also used brokers.· TreeHouse also heard from

20· · · · ·customers by phone and/or by other

21· · · · ·intermediaries and were told how customers

22· · · · ·felt.

23· · · · · · · · · And so the fact that somebody's

24· · · · ·feeling about what they would do is reflected

25· · · · ·in a note does not mean there was a meeting


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·2· · · · ·between TreeHouse and the third party.· And

·3· · · · ·that's one of my points, and I'm turning to

·4· · · · ·suppliers.· And then we will get to customers

·5· · · · ·right after that.

·6· · · · · · · · · JUDGE CAVE:· I also just want to

·7· · · · ·remind you that I only have an hour and

·8· · · · ·45 minutes today.· And so to the extent people

·9· · · · ·feel the need to read slides, you don't need

10· · · · ·to read a slide.· You can make a point from

11· · · · ·the slide, and I promise you that I will read

12· · · · ·it.· But I only have an hour and 45 minutes.

13· · · · ·I have an absolute hard stop at 5:45.

14· · · · · · · · · MR. BADINI:· Okay.· Thank you.· Next

15· · · · ·slide, please.

16· · · · · · · · · There is an accusation that there was

17· · · · ·data lost from Spratlin.· Now, first of all,

18· · · · ·Spratlin was an engineer.· He was not a person

19· · · · ·who routinely dealt with customers.· He was

20· · · · ·asked by his supervisor to send an email with

21· · · · ·respect to obtaining machinery because he was

22· · · · ·an engineer and tweaked machines to make them

23· · · · ·work.

24· · · · · · · · · His supervisor -- and we will get to

25· · · · ·this in another slide, but I may as well tell


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·2· · · · ·you now -- his supervisor was identified.· He

·3· · · · ·was never deposed by Keurig.

·4· · · · · · · · · He -- he was subject to automatic

·5· · · · ·archiving.· All of them were.· His hard drive

·6· · · · ·was collected February 23, 2017, during the

·7· · · · ·discovery stay.

·8· · · · · · · · · I won't mention that for each of these

·9· · · · ·because we have provided a chart at the end

10· · · · ·that responds to one of your questions.· And

11· · · · ·so in the interests of time, we will skip over

12· · · · ·that.

13· · · · · · · · · They base their spoliation claim on

14· · · · ·the fact he received a single email from

15· · · · ·Ari Jones, a machine supplier, saying they

16· · · · ·would not supply TreeHouse because of their

17· · · · ·exclusivity agreement with Keurig.

18· · · · · · · · · None of that was disputed.· They

19· · · · ·deposed two people from Ari Jones.· One was

20· · · · ·the 30(b)(6).· One was an individual.· They

21· · · · ·said:

22· · · · · · · · · "We wanted to deal with TreeHouse, and

23· · · · ·we couldn't because of the exclusivity

24· · · · ·agreement."

25· · · · · · · · · There is no dispute here -- and the


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·2· · · · ·email that has been produced, either nine or

·3· · · · ·ten times to Keurig -- it's very transparent

·4· · · · ·what they are trying to do here.· The email is

·5· · · · ·very damaging to them because Ari Jones says:

·6· · · · · · · · · "Hey, we would like to deal with you,

·7· · · · ·but we can't because of this contract."

·8· · · · · · · · · That's what they are trying to

·9· · · · ·accomplish here.· Next -- next slide.

10· · · · · · · · · They made a big deal about sent emails

11· · · · ·and how they are supposedly deleted.· First of

12· · · · ·all as I mentioned, you know, they are

13· · · · ·preserved.· But besides the fact, Mr. Spratlin

14· · · · ·testified there was no sent email.· He picked

15· · · · ·up the phone.· I know it sounds old-fashioned,

16· · · · ·but he picked up the phone and called Ari

17· · · · ·Jones; and that's why there is no email going

18· · · · ·out from him to Ari Jones.

19· · · · · · · · · The document-counting exercise is

20· · · · ·flawed.· You stole some of my thunder, Your

21· · · · ·Honor, so I am not going to repeat it.

22· · · · · · · · · As you -- as you can see from this

23· · · · ·chart, you know, there is a spike in 2016 when

24· · · · ·there was no -- there was no hold, so it just

25· · · · ·doesn't work.


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·2· · · · · · · · · Now, on the other hand, on the flip

·3· · · · ·side, they say that our document count -- and

·4· · · · ·I think that is the next -- that's the next

·5· · · · ·slide, Ms. Fitzgerald.· Yes.

·6· · · · · · · · · First of all, there was a typo in the

·7· · · · ·brief, Your Honor, which we apologize for.· We

·8· · · · ·said we produced over 69,000 documents from

·9· · · · ·Mr. Spratlin.· It's over 67,000.· I believe it

10· · · · ·has been corrected in the stipulated facts.

11· · · · · · · · · But they take issue not only with this

12· · · · ·count, but with all of our document counts.

13· · · · ·And I looked carefully at the stipulated

14· · · · ·facts, Your Honor.· The only cite they make

15· · · · ·for taking issue with these counts is to the

16· · · · ·motion that they lost before Your Honor saying

17· · · · ·that our metadata was incomplete and

18· · · · ·misleading.

19· · · · · · · · · They had their IT folks submit

20· · · · ·declarations.· We had an IT expert.· We

21· · · · ·counted correctly.· They -- they are disputing

22· · · · ·these based on a lost motion, and we submit,

23· · · · ·Your Honor that, you know, they have no

24· · · · ·support for their counting exercise and we

25· · · · ·have supported ours.


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·2· · · · · · · · · Next slide, please.

·3· · · · · · · · · Okay.· Let's go to some retail sales.

·4· · · · ·They point to some specific employees:

·5· · · · ·Crawford, Moorehead, Rothers.· This is true of

·6· · · · ·all of these folks -- I think I can say it

·7· · · · ·across the board.

·8· · · · · · · · · The assumption that there are missing

·9· · · · ·retailer meeting notes is completely

10· · · · ·speculative.· There is not a single piece of

11· · · · ·evidence, Your Honor, saying there was a

12· · · · ·meeting on such and such date with such and

13· · · · ·such retailer, and -- and somebody took notes.

14· · · · · · · · · That's complete speculation.

15· · · · · · · · · In fact, there is evidence that, in

16· · · · ·preparation for that important board meeting,

17· · · · ·TreeHouse was beating the bushes to get all of

18· · · · ·the information they could relating to what

19· · · · ·was said at any retailer meetings or what was

20· · · · ·said by brokers, you know, through the

21· · · · ·grapevine, et cetera, and that was presented.

22· · · · ·Let's take a look at it.

23· · · · · · · · · These -- these are lists of -- and,

24· · · · ·again, it's important -- it doesn't say

25· · · · ·"meetings."· It says "score card."· Some of


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·2· · · · ·them say "meeting."· For example, H.E. Butt,

·3· · · · ·B-u-t-t, it says:

·4· · · · · · · · · "Meeting scheduled for February 7th."

·5· · · · · · · · · "Ahold meeting scheduled for

·6· · · · ·February 14th."

·7· · · · · · · · · Some of them it just has a "key

·8· · · · ·takeaway."

·9· · · · · · · · · Now, the other important thing about

10· · · · ·these key takeaways is that Keurig's

11· · · · ·speculation about the alleged lost data -- and

12· · · · ·this goes more to prejudice, but I may as well

13· · · · ·say this now to save some time -- is that

14· · · · ·these alleged missing notes will show that

15· · · · ·really the reason these retailers left

16· · · · ·TreeHouse and went to Keurig is that they were

17· · · · ·dissatisfied with TreeHouse's price or service

18· · · · ·or quality.· We weren't doing a good job.· It

19· · · · ·wasn't the 2.0.

20· · · · · · · · · Well, if you look at all of these

21· · · · ·notes -- and I won't read them -- there is

22· · · · ·nothing like that in here.· So they are

23· · · · ·speculating against all of the weight of the

24· · · · ·evidence that -- that they will find something

25· · · · ·that contradicts all of this.


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·2· · · · · · · · · Next slide, please.

·3· · · · · · · · · There were some earlier-in-time

·4· · · · ·documents about the retailer meetings -- and,

·5· · · · ·again, I won't read these.· But they are

·6· · · · ·completely consistent with that summary that I

·7· · · · ·just showed you with the board.· In fact,

·8· · · · ·they're -- they are even more favorable to

·9· · · · ·TreeHouse than the board summary is.

10· · · · · · · · · Next slide, please.

11· · · · · · · · · Now, they say that Gretchen Crawford's

12· · · · ·data was lost.· We have outlined what was done

13· · · · ·to preserve her data.· They speculate -- here

14· · · · ·is one specific example where we have, you

15· · · · ·know, definitive, almost definitive proof the

16· · · · ·other way, that there wasn't any such meeting.

17· · · · · · · · · They speculate that they're missing

18· · · · ·Ahold meeting notes.· But in the November 15th

19· · · · ·Project Charter document that I showed you

20· · · · ·about ten minutes ago, there's a retailer

21· · · · ·meeting plan.· Ahold is not listed.· There

22· · · · ·wasn't a plan to meet with them before --

23· · · · ·before the litigation holds went out.

24· · · · · · · · · There wasn't a plan to meet with them

25· · · · ·at all in this early time period.· And at the


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·2· · · · ·same time, we presented evidence of other

·3· · · · ·meetings with East Coast retailers which show

·4· · · · ·that none of this data was spoliated.

·5· · · · · · · · · Next slide, please.

·6· · · · · · · · · Bobby Moorehead is much the same

·7· · · · ·story.· We issued a litigation hold.· We

·8· · · · ·produced over 61,0000 of his documents, which,

·9· · · · ·of course Keurig -- next slide, please.

10· · · · · · · · · Now, Tom Rothers, Keurig argues he was

11· · · · ·relevant to Kroger.· I'm going to talk about

12· · · · ·Kroger a little bit in a second; but Keurig

13· · · · ·admits that there were numerous communications

14· · · · ·between Rothers and Kroger that were, in fact,

15· · · · ·produced to Keurig, some of which were

16· · · · ·attached to the Kroger buyer declaration by

17· · · · ·Ms. Klawon.

18· · · · · · · · · Now, again, this is important to pause

19· · · · ·on this, Your Honor.

20· · · · · · · · · Ms. Klawon was the buyer for Kroger

21· · · · ·who made the decision as to whether to go with

22· · · · ·Keurig or stick with TreeHouse.· She issued a

23· · · · ·sworn declaration.· She was deposed by Keurig

24· · · · ·on that sworn declaration.· You don't need any

25· · · · ·alleged lost meeting notes.· She was clear as


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·2· · · · ·to why she switched to Keurig.· It was because

·3· · · · ·of the 2.0 and the fear of being locked out.

·4· · · · · · · · · Now, the missing laptop is a red

·5· · · · ·herring.· Ms. Newton yesterday -- I wrote it

·6· · · · ·was slide 33.· She said that a certain

·7· · · · ·individual -- I think it was Don Holley -- was

·8· · · · ·a so-called limited custodian.

·9· · · · · · · · · That's true.· There was a concept of

10· · · · ·limited and heavily negotiated custodians

11· · · · ·after the initial round of custodians.

12· · · · ·Mr. Rothers was.· We said we would only

13· · · · ·produce his emails.

14· · · · · · · · · The only cite that Keurig makes to --

15· · · · ·to an alleged agreement that we would produce

16· · · · ·his laptop is to an email from their counsel

17· · · · ·calling it a full custodian, which Ms. Torpey

18· · · · ·responded to; and both of those -- both of

19· · · · ·those are in the record.

20· · · · · · · · · Next slide, please.

21· · · · · · · · · We already talked a little bit about

22· · · · ·the Away from Home market, which is -- the

23· · · · ·office coffee services market is part of it.

24· · · · ·There was no spoliation for Judy Clark.

25· · · · · · · · · Again, none -- Keurig has cited no


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·2· · · · ·evidence that supports that any alleged

·3· · · · ·missing documents will support their narrative

·4· · · · ·that we were locked out of the market because

·5· · · · ·we had no interest in going in instead of

·6· · · · ·their exclusive dealing agreements.

·7· · · · · · · · · Next slide, please.

·8· · · · · · · · · Same story with Greg Pollard, who was

·9· · · · ·also in charge of the Away from Home market.

10· · · · · · · · · Next slide.

11· · · · · · · · · I want to pause for a minute on

12· · · · ·Craig Lemieux.· This to me is one of the most

13· · · · ·puzzling accusations in the spoliation motion.

14· · · · ·He was the senior vice president and general

15· · · · ·manager of Sturm, which was the cup-producing

16· · · · ·division.

17· · · · · · · · · Of course, like everyone else, he was

18· · · · ·subject to the archiving.· We obtained and

19· · · · ·are -- searched his computer in February of

20· · · · ·2017.· Keurig admits he was placed on a hold

21· · · · ·before the litigation was filed and he -- and

22· · · · ·they twice admit that he was on a continuous

23· · · · ·litigation hold since 2010 with subject matter

24· · · · ·overlapping this case.

25· · · · · · · · · I don't see how they can argue that


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·2· · · · ·there is supposedly missing data from

·3· · · · ·Mr. Lemieux.· Next slide, please.

·4· · · · · · · · · We covered some of the "no prejudice"

·5· · · · ·stuff in my lost data, but I will just give

·6· · · · ·you some highlights, Your Honor.· Next slide,

·7· · · · ·please.

·8· · · · · · · · · This is the law.· We don't need to go

·9· · · · ·over that again.· Next slide.

10· · · · · · · · · Project Charter, again, it is pure

11· · · · ·speculation that there were any retailer

12· · · · ·meetings with missing notes.· If they would

13· · · · ·identify one -- and they had -- and by the

14· · · · ·way, again, Your Honor, this cannot be

15· · · · ·emphasized enough.

16· · · · · · · · · These are customers that used to be

17· · · · ·TreeHouse customers that went to Keurig.· That

18· · · · ·means they have been Keurig customers, most of

19· · · · ·them continuously -- some of them may have

20· · · · ·partially gone back to TreeHouse -- Keurig

21· · · · ·customers since 2014.

22· · · · · · · · · Presumably, Keurig has a relationship

23· · · · ·with its customers.· If they thought that

24· · · · ·their customer would tell them, "Yeah, we

25· · · · ·really left TreeHouse because TreeHouse was


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·2· · · · ·lousy; their products were no good," they

·3· · · · ·could have gotten the deposition of that

·4· · · · ·customer.· They could have gotten the

·5· · · · ·declaration the way we did.

·6· · · · · · · · · They didn't.· They had the

·7· · · · ·opportunity, and they didn't.· They haven't

·8· · · · ·been prejudiced.

·9· · · · · · · · · Next slide, please.

10· · · · · · · · · I talked a little bit about this,

11· · · · ·about Mr. Spratlin.· He sent the email under

12· · · · ·the direction of his boss.· He was a

13· · · · ·custodian.· He was issued an early hold, and

14· · · · ·Keurig decided not to depose him.· And other

15· · · · ·recipients of the email included Lemieux,

16· · · · ·Reed, Sliva, Ford, Reardon, and Overly.

17· · · · · · · · · Next slide, please.

18· · · · · · · · · I made -- I just made this point that

19· · · · ·these retailers are Keurig customers, and they

20· · · · ·query whether any document, whether if it

21· · · · ·existed, would even be admissible.· If there's

22· · · · ·a TreeHouse document that says, "Retailer X

23· · · · ·told me they left TreeHouse because of our

24· · · · ·service," is that -- I think that's

25· · · · ·inadmissible hearsay.· I mean, they need


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·2· · · · ·Retailer X to say that.· They had plenty of

·3· · · · ·opportunities to depose third-parties.

·4· · · · · · · · · Next slide, please.

·5· · · · · · · · · I want to talk a little bit about

·6· · · · ·Kroger and Ahold, which is our two retailers

·7· · · · ·on this slide.· There were many others

·8· · · · ·involved in the Kroger relationship besides

·9· · · · ·Ms. Crawford.· They all received litigation

10· · · · ·hold early.

11· · · · · · · · · Keurig's own exhibit shows that the

12· · · · ·evidence we do have of a TreeHouse meeting

13· · · · ·with Kroger was with Harry Overly and

14· · · · ·Bob Baker, not with Ms. Crawford.· And with

15· · · · ·Ahold, we have already talked about how they

16· · · · ·failed to show any meeting during this time

17· · · · ·period.

18· · · · · · · · · Next slide, please.

19· · · · · · · · · With respect to Moorehead and Rothers,

20· · · · ·Moorehead was supervised by Bob Baker, who

21· · · · ·received a litigation hold before the

22· · · · ·litigation was filed.· And on Rothers, Keurig

23· · · · ·chose not to depose him, and Mr. Overly was

24· · · · ·responsible for him.

25· · · · · · · · · The next slide answers one of your


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·2· · · · ·direct questions, Your Honor.

·3· · · · · · · · · JUDGE CAVE:· Before -- before you get

·4· · · · ·to that, is there any place in the record

·5· · · · ·where this sort of world "we are going to do

·6· · · · ·preservation for supervisors" was mutually

·7· · · · ·agreed?

·8· · · · · · · · · MR. BADINI:· I'm not sure there is a

·9· · · · ·written agreement, but I think what happened

10· · · · ·was -- well, let me back up.

11· · · · · · · · · I am not saying we only did

12· · · · ·preservation for supervisors.· I think we did

13· · · · ·preservation for a lot of people besides

14· · · · ·supervisors, like all employees had their

15· · · · ·emails saved.

16· · · · · · · · · But when we were trying to get

17· · · · ·additional documents from additional

18· · · · ·custodians, Keurig repeatedly took the

19· · · · ·position that anything of importance on that

20· · · · ·subject would have been reported up to the

21· · · · ·supervisor.

22· · · · · · · · · And I think, frankly, that there is a

23· · · · ·lot of truth to that.· Mr. Spratlin sent that

24· · · · ·email at the request of his supervisor.· And

25· · · · ·he reported it back to his supervisor.


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·2· · · · · · · · · So was it a formal agreement?· No, I

·3· · · · ·wouldn't say that, Your Honor.· I think that

·4· · · · ·it was more like an exchange of positions.

·5· · · · · · · · · JUDGE CAVE:· Okay.

·6· · · · · · · · · MR. BADINI:· And -- next slide -- you

·7· · · · ·asked why does TreeHouse believe that Baker is

·8· · · · ·an alternative custodian for Rothers.· Again,

·9· · · · ·Mr. Baker was vice president of sales for

10· · · · ·the -- for the eastern region.· Baker was the

11· · · · ·one who testified about the 2014 meetings with

12· · · · ·Kroger.

13· · · · · · · · · Rothers isn't even mentioned.· And as

14· · · · ·we just discussed with respect to Mr. Spratlin

15· · · · ·forwarding communications, Baker here would

16· · · · ·keep Rothers informed, but not the other way

17· · · · ·around.· So that's why we think he's -- now,

18· · · · ·next slide, please.

19· · · · · · · · · There has been a lot of focus on

20· · · · ·Ahold, and I have already said a little bit

21· · · · ·about it.· But this -- this is more on the

22· · · · ·prejudice issue.· There are also not

23· · · · ·prejudiced because they have what they say

24· · · · ·they need.

25· · · · · · · · · They admit they received from


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·2· · · · ·TreeHouse documents that they claim attribute

·3· · · · ·the win of business to Keurig merchandising

·4· · · · ·and competitive pricing.· If they have got it,

·5· · · · ·they can show no harm.

·6· · · · · · · · · And their document-counting exercise

·7· · · · ·doesn't help them.· Remember, this is a Keurig

·8· · · · ·customer since 2014.· And despite the fact

·9· · · · ·that they are a Keurig customer, TreeHouse

10· · · · ·produced 40 percent more communications from

11· · · · ·Ahold than Keurig produced.

12· · · · · · · · · Next slide.

13· · · · · · · · · Kroger, we have talked a little bit

14· · · · ·about.· It's a very important customer, so I'm

15· · · · ·sorry if we're belaboring it.· I've already

16· · · · ·mentioned that they had the sworn deposition

17· · · · ·testimony and declaration of the buyer who

18· · · · ·said the switch was entirely based on the

19· · · · ·lockout technology.

20· · · · · · · · · Now, they -- they claim that they

21· · · · ·deposed her and got her to flip-flop on that

22· · · · ·testimony.· We don't agree.· But let's say

23· · · · ·they are right.· If they are right, they have

24· · · · ·got their evidence.

25· · · · · · · · · Whatever admissions they got out of


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·2· · · · ·the buyer, that's from the horse's mouth.

·3· · · · ·That's the person who can give the definitive

·4· · · · ·answer of what they -- why they switched

·5· · · · ·Kroger, not third-hand from some broker

·6· · · · ·talking to TreeHouse.

·7· · · · · · · · · And we gave evidence of a meeting with

·8· · · · ·Kroger during this spoliation period.· This is

·9· · · · ·an interesting document because this is in one

10· · · · ·of the presentations that they rely upon from

11· · · · ·the Project Charter group.

12· · · · · · · · · Next slide, please.

13· · · · · · · · · But they don't show the Court.· This

14· · · · ·has details of the meeting with Kroger.· So

15· · · · ·two points about this:

16· · · · · · · · · When there was a meeting with Kroger,

17· · · · ·where did the details of that meeting get to?

18· · · · ·They got to these Project Charter documents.

19· · · · ·You can see all of these bullet points about

20· · · · ·what was said in that meeting.

21· · · · · · · · · Where there was something like

22· · · · ·third-party hearsay, maybe there was just one

23· · · · ·line in the -- in the -- in the summary.

24· · · · · · · · · But two points:· One here, detailed

25· · · · ·notes of the meeting; second point, none of


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·2· · · · ·these notes, none of these notes support the

·3· · · · ·Keurig narrative that they would like to

·4· · · · ·create, which is that the reason Kroger

·5· · · · ·switched was because they were unhappy with

·6· · · · ·TreeHouse.

·7· · · · · · · · · They say -- you know, second line

·8· · · · ·says, "Keurig is not a customer of ours" -- I

·9· · · · ·am not going to read it.· Next slide.

10· · · · · · · · · They got a lot of documents relating

11· · · · ·to Away from Home.· Next slide.

12· · · · · · · · · On Lemieux, there is an interesting

13· · · · ·flip-flop here that is worth pausing on.· They

14· · · · ·say it is so critical to look at the

15· · · · ·2010-to-2012 time period.· And, in fact, in

16· · · · ·Mr. Mukhi's charts of the Lemieux documents

17· · · · ·that he showed you yesterday, he showed you

18· · · · ·how very little had been produced during that

19· · · · ·time period.

20· · · · · · · · · Well, a couple of notes:

21· · · · · · · · · First of all, they don't even contend

22· · · · ·that there was a preservation obligation for

23· · · · ·this case in that time period.· That's point

24· · · · ·one.

25· · · · · · · · · Point two, Lemieux very well may have


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·2· · · · ·had files that were produced in the Sturm

·3· · · · ·litigation for that time period.· Keurig moved

·4· · · · ·twice, twice, to get those files.· That motion

·5· · · · ·was -- was denied twice.

·6· · · · · · · · · And so in order to resolve the issue

·7· · · · ·over Lemieux, we offered to give them those

·8· · · · ·Lemieux documents from the Sturm litigation

·9· · · · ·even though they were not entitled to them and

10· · · · ·had lost the motion twice.· They refused.

11· · · · · · · · · And by the way there was a

12· · · · ·misrepresentation of -- misrepresentation

13· · · · ·about that offer, and maybe -- I am going to

14· · · · ·give counsel the benefit of the doubt.· I am

15· · · · ·not going to say "misrepresentation."

16· · · · · · · · · I think the way it came out, it

17· · · · ·sounded like we offered to give the Lemieux

18· · · · ·documents if -- if we would -- if we -- if

19· · · · ·they, Keurig, would drop all of their

20· · · · ·spoliation claims.· That's not what we said.

21· · · · · · · · · Next slide, please.

22· · · · · · · · · This is what we said.· We would be

23· · · · ·willing to produce non-privileged documents

24· · · · ·from the Sturm case that's sourced from his

25· · · · ·file for an agreement not to raise spoliation


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·2· · · · ·concerns regarding Mr. Lemieux, which is only

·3· · · · ·reasonable:

·4· · · · · · · · · "We are going to give you more with

·5· · · · ·respect to Lemieux, something you are not even

·6· · · · ·entitled to because you lost the motion twice,

·7· · · · ·if you drop your concerns about Mr. Lemieux."

·8· · · · · · · · · We weren't asking them to drop this

·9· · · · ·motion.· We were -- we were cooperating, and

10· · · · ·they said -- next slide, please.

11· · · · · · · · · Just a few quick words on remedy, I

12· · · · ·will go very quickly.· Next slide.

13· · · · · · · · · They are seeking 37(e)(1) relief in

14· · · · ·name only.· If you look at the advisory

15· · · · ·committee notes -- next slide -- and I am not

16· · · · ·going to read them -- they warn against using

17· · · · ·(e)(1) remedies that really should be in

18· · · · ·(e)(2); and that's exactly what is happening

19· · · · ·in this case.

20· · · · · · · · · They are seeking broad evidentiary

21· · · · ·preclusion on issues that go to the heart of

22· · · · ·this case.· That is absolutely inappropriate.

23· · · · · · · · · There was a question put by, I think,

24· · · · ·Your Honor, to Ms. Newton yesterday:

25· · · · · · · · · "Is there a linkage between these


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·2· · · · ·motions and summary judgment?"

·3· · · · · · · · · And I think Ms. Newton said something

·4· · · · ·like, well, she didn't know that they would

·5· · · · ·derail summary judgment, or words to that

·6· · · · ·effect.· And then Ms. Torpey gave two examples

·7· · · · ·of a linkage.

·8· · · · · · · · · I submit -- I don't remember those

·9· · · · ·specific examples -- but I submit there is

10· · · · ·extensive linkage.· We too moved for summary

11· · · · ·judgment as you know.· And these motions are

12· · · · ·intended to strike at the very heart of our

13· · · · ·summary judgment motion and to prevent us from

14· · · · ·relying on evidence in our summary judgment

15· · · · ·motion wholly unrelated -- wholly unrelated to

16· · · · ·any alleged spoliation.· That is completely

17· · · · ·inappropriate.

18· · · · · · · · · Next slide.· I am not going to read

19· · · · ·this.

20· · · · · · · · · This is the preclusion order that they

21· · · · ·seek -- preclude TreeHouse from affirmatively

22· · · · ·putting on evidence of any witness -- any

23· · · · ·witness -- any witness on these big issues --

24· · · · ·next slide -- and I am not going to read these

25· · · · ·slides at all.


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·2· · · · · · · · · For your reference, let me tell you

·3· · · · ·what they are.· On each of these issues or

·4· · · · ·these preclusion orders which are sought, they

·5· · · · ·are key parts of our amended complaint, and

·6· · · · ·they are a key part of the TreeHouse -- excuse

·7· · · · ·me -- plaintiff summary judgment motion

·8· · · · ·against Keurig and Keurig's response.

·9· · · · · · · · · They are also, by the way, key parts

10· · · · ·of Keurig's summary motion judgment against

11· · · · ·us; but we are feeling pretty good with that

12· · · · ·one.

13· · · · · · · · · But if you look down -- just keep

14· · · · ·flipping through these until you finish these

15· · · · ·slides and get to the cases.

16· · · · · · · · · MR. MUKHI:· Your Honor, not to

17· · · · ·interrupt, but I would like to reserve about

18· · · · ·15 minutes of rebuttal.

19· · · · · · · · · JUDGE CAVE:· I was expecting that, and

20· · · · ·I still need to hear from Mr. Johnson, too.

21· · · · · · · · · MR. MUKHI:· Yes, of course, of course,

22· · · · ·after Mr. Johnson.· Thank you.

23· · · · · · · · · MR. BADINI:· I am just about done.

24· · · · ·Keep going, Ms. Fitzgerald.

25· · · · · · · · · I won't read these, but they only cite


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·2· · · · ·two cases for -- that exclude evidence of --

·3· · · · ·for spoliation of ESI.· Both of them are

·4· · · · ·extreme.· One involve fraud, and one involved

·5· · · · ·an admission of routinely deleting emails and

·6· · · · ·an inability to get communications from third

·7· · · · ·parties.

·8· · · · · · · · · Here, as I pointed out, if Keurig

·9· · · · ·wanted to talk to its customers, it was in a

10· · · · ·great position to do so.

11· · · · · · · · · And the relief granted was very

12· · · · ·narrow.· The person who committed the fraud

13· · · · ·was precluded from relying on the specific

14· · · · ·fraudulent email.· In the Lokai case, the

15· · · · ·spoliator was precluded from testifying as to

16· · · · ·the content of any unpreserved emails.

17· · · · · · · · · Next slide -- I am not going to read

18· · · · ·these.· I think Mr. Mukhi had a similar slide

19· · · · ·about comparison of the two -- two motions.

20· · · · ·That's what that is.

21· · · · · · · · · And I think the rest of the slides are

22· · · · ·just in one place, Your Honor -- keep going --

23· · · · ·answers to your questions.· I think we have

24· · · · ·gone over all of them.· One of them has the

25· · · · ·litigation hold charts -- excuse me -- the


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·2· · · · ·round of collection of hard drive charts.

·3· · · · ·Keep going.

·4· · · · · · · · · One of them has the nonlegal

·5· · · · ·custodians who Keurig deposed, Kroger and

·6· · · · ·Wegmans.· And I think that's it.· Just go to

·7· · · · ·the summary, Ms. Fitzgerald.

·8· · · · · · · · · Okay.· Next slide.

·9· · · · · · · · · We talked about the TreeHouse document

10· · · · ·preservation efforts, that the holds were

11· · · · ·timely compared to Keurig's practices.· Keurig

12· · · · ·has taken the position, as I've said -- I

13· · · · ·don't know that this was a formal agreement --

14· · · · ·that the production from supervisors was

15· · · · ·sufficient, and they failed to identify any

16· · · · ·specific lost data.

17· · · · · · · · · Next slide.

18· · · · · · · · · They also haven't shown any prejudice.

19· · · · ·They had multiple copies of the Spratlin

20· · · · ·email.· Their "before" and "after" document

21· · · · ·count has never been used by any Court to my

22· · · · ·knowledge.· They have failed to identify any

23· · · · ·specific missing retailer notes; and, in fact,

24· · · · ·they had access to these folks, not only as

25· · · · ·customers, but as deponents.· And there were


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·2· · · · ·lots of documents that were produced.

·3· · · · · · · · · And final slide.

·4· · · · · · · · · And the proposed remedy, as we talked

·5· · · · ·about, has been -- is not supported by the

·6· · · · ·facts of the law.· Thank you for your

·7· · · · ·indulgence, Your Honor.· Unless you have any

·8· · · · ·questions, I am done.

·9· · · · · · · · · JUDGE CAVE:· Not right now.

10· · · · · · · · · All right.· Mr. Johnson, you have been

11· · · · ·very patient.· You are up.

12· · · · · · · · · MR. JOHNSON:· Thank you, Your Honor.

13· · · · ·We don't have much time.· I will be very

14· · · · ·brief.· The question, as I understood it,

15· · · · ·was -- was Keurig claimed that it was unable

16· · · · ·to get information concerning the January 31st

17· · · · ·meeting between Costco and my client JBR; and

18· · · · ·it said that Rogers had notes which were

19· · · · ·destroyed.

20· · · · · · · · · That's the basic premise upon which

21· · · · ·their entire motion is based, so what I

22· · · · ·thought I would do is focus on the first time

23· · · · ·Keurig was aware that there was a meeting

24· · · · ·between Costco and Rogers, January 31, 2014.

25· · · · · · · · · It turns out that that meeting took


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·2· · · · ·place -- I'm sorry -- the first time it was --

·3· · · · ·became -- it became known to Keurig about the

·4· · · · ·meeting was in a declaration filed in a

·5· · · · ·preliminary injunction motion.· If you will,

·6· · · · ·can we put the slides up, fellows.

·7· · · · · · · · · MR. JONES:· They're up.

·8· · · · · · · · · MR. JOHNSON:· All right.· Are -- can

·9· · · · ·the -- Magistrate, can you see them?

10· · · · · · · · · JUDGE CAVE:· Not yet.

11· · · · · · · · · MR. JOHNSON:· All right.

12· · · · · · · · · JUDGE CAVE:· Now, I can.

13· · · · · · · · · MR. JOHNSON:· Okay.· Scroll to the --

14· · · · ·to the first slide, if you will.· This goes

15· · · · ·directly to the question of:

16· · · · · · · · · Was there a factual basis for this

17· · · · ·motion?

18· · · · · · · · · But I will skip this one for the

19· · · · ·moment.· Go to the next slide.· In the

20· · · · ·preliminary -- go back to the -- to the

21· · · · ·previous slide.· All right.· I am doing badly

22· · · · ·here.· Give me the first slide where we quote

23· · · · ·Jon Rogers.· The next slide.

24· · · · · · · · · In the preliminary injunction hearing,

25· · · · ·which was heard before you were part of this


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·2· · · · ·case, Jon Rogers, the CEO, submitted a sworn

·3· · · · ·declaration, the CFO, Mike Sarina, also

·4· · · · ·submitted a sworn declaration.· And these

·5· · · · ·sworn declarations were done in the summer and

·6· · · · ·August of 2014.· The first one is ECF number

·7· · · · ·86, and the second is ECF number 127,

·8· · · · ·Exhibit 14.· And you can see the cite.· But

·9· · · · ·let's look at what it says.

10· · · · · · · · · Go to the next slide.

11· · · · · · · · · Jon Rogers, who is the CEO, and --

12· · · · ·said:

13· · · · · · · · · "That I am aware that on January 31,

14· · · · ·2014, Rogers met with representatives from

15· · · · ·Costco's small appliance department."

16· · · · · · · · · And he identified Claudine Adamo,

17· · · · ·Deirdre Bondarev, Shannon Axthelm.

18· · · · · · · · · "At this meeting Costco's

19· · · · ·representative explained that Costco would not

20· · · · ·be widely used for distribution for any

21· · · · ·portion pack required until the Keurig 2.0

22· · · · ·issue was resolved.· At the same meeting,

23· · · · ·Rogers was told that would it be required to

24· · · · ·implement a design change to its Costco

25· · · · ·packaging that would make clear that Rogers'


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·2· · · · ·products were not compatible with Keurig 2.0

·3· · · · ·brewers or Vue brewers."

·4· · · · · · · · · That was done in open court in

·5· · · · ·August 2014.· The question of whether -- of

·6· · · · ·what was discussed at the January 31st meeting

·7· · · · ·was told to Judge Broderick, and Keurig was

·8· · · · ·made aware of it.

·9· · · · · · · · · So any argument that they did not know

10· · · · ·about the meeting and its substance is wrong.

11· · · · ·Why they didn't show it is up to them, but

12· · · · ·let's go on.

13· · · · · · · · · JUDGE CAVE:· Wait a second.

14· · · · · · · · · MR. JOHNSON:· Sure.

15· · · · · · · · · JUDGE CAVE:· Can I ask:

16· · · · · · · · · What was the basis for the statements

17· · · · ·in the declaration?· Was it Mr. Rogers'

18· · · · ·recollection because the meeting had just

19· · · · ·happened, or was there something else that he

20· · · · ·consulted?

21· · · · · · · · · MR. JOHNSON:· The basis, as I

22· · · · ·understand it, was a meeting with his entire

23· · · · ·executive group, which included Jim Rogers.

24· · · · ·So the statement that there was no knowledge

25· · · · ·about what happened at the meeting is simply


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·2· · · · ·false.

·3· · · · · · · · · JUDGE CAVE:· Right, but I am asking a

·4· · · · ·slightly different question.· I'm just

·5· · · · ·asking --

·6· · · · · · · · · MR. JOHNSON:· I understand.

·7· · · · · · · · · JUDGE CAVE:· -- if the declaration --

·8· · · · ·was it being used -- and you are saying it was

·9· · · · ·just a discussion with other people.

10· · · · · · · · · MR. JOHNSON:· With other people

11· · · · ·including, Jim Rogers, his son, and including

12· · · · ·the CFO, Mr. Sarina.

13· · · · · · · · · JUDGE CAVE:· Okay.

14· · · · · · · · · MR. JOHNSON:· Now, if we go to the

15· · · · ·next slide, you will see that he identified

16· · · · ·the actual label that Costco required JBR to

17· · · · ·use.· And you will note Keurig didn't

18· · · · ·challenge the accuracy of the meeting.

19· · · · · · · · · Keurig said that the slide proved that

20· · · · ·there was no evidence of actual labeling harm

21· · · · ·because -- because the company couldn't prove

22· · · · ·lost sales.· That is in their reply hearing

23· · · · ·briefs, slide 182.

24· · · · · · · · · Go to the next slide.

25· · · · · · · · · Sarina testified twice about the same


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·2· · · · ·meeting.· And his quote was:

·3· · · · · · · · · "Rogers' representative met with

·4· · · · ·Costco in January 2014.· Rogers was told that

·5· · · · ·it would be required to label its boxes to

·6· · · · ·state that its OneCUPs were not compatible

·7· · · · ·with 2.0" -- totally consistent with what the

·8· · · · ·facts turned out to be.

·9· · · · · · · · · "When Keurig accelerated its release

10· · · · ·date to August of this year, Costco then

11· · · · ·requested that we sticker all boxes with

12· · · · ·non-compliant labels" -- totally consistent

13· · · · ·with the fact -- see ECF number 131 in

14· · · · ·Sarina's declaration on that.

15· · · · · · · · · So anyone who says they don't know

16· · · · ·what was -- what was discussed at the

17· · · · ·January 14th -- at the January 31 meeting with

18· · · · ·Costco cannot be telling the truth.· This is

19· · · · ·at the PI hearing.· Let's go to the next

20· · · · ·slide.

21· · · · · · · · · Now, Keurig believed that testimony

22· · · · ·because they made arguments based upon the

23· · · · ·deposition of Mr. Sarina and the declaration

24· · · · ·of Mr. Rogers.· Not only that -- go to the

25· · · · ·next slide.


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·2· · · · · · · · · In its PI opinion, Judge Broderick

·3· · · · ·quoted the -- the meeting that was held and

·4· · · · ·described why in his opinion what the -- what

·5· · · · ·the -- excuse me -- described what the label

·6· · · · ·disclosed and reached a conclusion that, in

·7· · · · ·fact, he had not -- we had not shown actual

·8· · · · ·evidence of damage.

·9· · · · · · · · · This is the -- this is the same

10· · · · ·meeting that you heard that they didn't know

11· · · · ·anything about.· And this -- if you read the

12· · · · ·opinion -- and there are cites there, ECF

13· · · · ·number 160 at 14 -- you will see the specific

14· · · · ·reference to the very opinion that you were

15· · · · ·told yesterday didn't -- conversation didn't

16· · · · ·exist.

17· · · · · · · · · Let's go to the next slide.

18· · · · · · · · · And in that opinion the Court relied

19· · · · ·on the declarations of both Rogers and

20· · · · ·Sabrina -- Sarina.· Excuse me.· Next slide.

21· · · · · · · · · This is the label that was provided to

22· · · · ·the Court in the PI hearing that Mr. Rogers

23· · · · ·and Mr. Sarina testified concerning.

24· · · · · · · · · Now, one point bears emphasis here.

25· · · · ·Mr. Sarina was deposed twice, once for the PI


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·2· · · · ·and then afterwards.· At no time during the

·3· · · · ·subsequent deposition did Ms. Branson --

·4· · · · ·Brannon, who took the deposition, ask him

·5· · · · ·about the very meeting she was absolutely

·6· · · · ·aware of because she was in the courtroom when

·7· · · · ·these PIs were -- during the PI hearing.

·8· · · · · · · · · Next slide.

·9· · · · · · · · · All right.· Now, when we talk about --

10· · · · ·when you were shown those emails yesterday,

11· · · · ·now, look -- I want you to think about the --

12· · · · ·now in the context of what you just saw.· You

13· · · · ·saw the declaration.

14· · · · · · · · · Now, on November 27, 2013 -- this is

15· · · · ·just days after Keurig had publicly announced

16· · · · ·that only licensed product that -- was 2.0 --

17· · · ·




                                                   But the next


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·2· · · · ·slide shows exactly what the subject matter

·3· · · · ·was talking about.

·4· · · · · · · · ·




                               The next slide.

11· · · · · · · ·




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·2· · ·

·3· · · · · · · · · This is a document they had.· Again,

·4· · · · ·this is before the meeting.· Now, go to the

·5· · · · ·next slide.

·6· · · · · · · · · Okay.·




21· · · · · · · · · Let's go to the next slide.· All

22· · · · ·right.· The meeting attendees were identified,

23· · · · ·which means that discovery could have been

24· · · · ·had, again,




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·2· · · · · · · · · Next slide.

·3· · · · · · · · · You see Jim Rogers communicating

·4· · · · ·subsequently to the January 31 meeting talking

·5· · · · ·about not only the meeting, but he also




·9· · · · · · · · · And he said, quote:

10· · · · · · · ·




15· · · · · · · · · And then he forwarded this, so let's

16· · · · ·stop there.· Here is what we know.· We know

17· · · · ·that in -- that in 2014 there were two

18· · · · ·declarations that described the conversations

19· · · · ·that took place between Rogers and Keurig.

20· · · · · · · · · And it specifically said Costco had

21· · · · ·expressed concern about unlicensed products

22· · · · ·and also was going to require a sticker on

23· · · · ·future boxes from Rogers in order to continue

24· · · · ·selling product.

25· · · · · · · · · We then know that Costco, by looking


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·2· · · · ·at the same emails during the same time

·3· · · · ·period, was saying the same thing.· So anyone

·4· · · · ·who says they were unaware of the substance of

·5· · · · ·the meeting can only be accurate either by

·6· · · · ·saying:

·7· · · · · · · · · "Oh, we forgot about all of this

·8· · · · ·information"; or, alternatively, "We were

·9· · · · ·aware, but made the strategic decision not to

10· · · · ·interrogate Mr. Rogers."

11· · · · · · · · · Now, how do we know that?· Let's go to

12· · · · ·the next slide.

13· · · · · · · · · This is the -- these are the facts.

14· · · · ·We produced 20 -- the other said 23; I take

15· · · · ·them at their word.· They never -- Keurig

16· · · · ·never asked anybody about the emails; but not

17· · · · ·only that, Keurig never asked anyone about the

18· · · · ·Sarina and Rogers declarations.

19· · · · · · · · · Now, the one argument you may hear is:

20· · · · · · · · · "Well, we couldn't take Jon Rogers'

21· · · · ·deposition."

22· · · · · · · · · And they are right.· The reason they

23· · · · ·couldn't take it is because he developed

24· · · · ·dementia during the course of this litigation,

25· · · · ·and thus he was not competent to testify.


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·2· · · · · · · · · But there was nothing wrong with

·3· · · · ·Mr. Sarina, "A."· And, "B," Mr. Rogers'

·4· · · · ·declaration which discussed specific subject

·5· · · · ·matter was there and available to be shown to

·6· · · · ·Jim Rogers and any other witness.· And they

·7· · · · ·didn't do it.

·8· · · · · · · · · Not only that, they took Shannon

·9· · · · ·Axthelm's deposition and did not ask her about

10· · · · ·the emails, did not ask her about the meeting,

11· · · · ·and did not ever come to us and say:

12· · · · · · · · · "Well, there is something missing here

13· · · · ·about this meeting that we are unaware of."

14· · · · · · · · · And I want to skip over the fact that,

15· · · · ·since this email -- this January 31st meeting

16· · · · ·was -- in the opinion written by the Court,

17· · · · ·that it was more than obvious that, if there

18· · · · ·was an issue that they wanted to discuss, they

19· · · · ·should have discussed.

20· · · · · · · · · So, my view, this is evidence that

21· · · · ·there was no spoliation.· The assertion that

22· · · · ·they didn't know is not credible.

23· · · · · · · · · Let's go to the next slide.

24· · · · · · · · · Now, when they deposed Mr. Rogers in

25· · · · ·February of '19, they didn't show him any


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·2· · · · ·emails.· They didn't show him the declarations

·3· · · · ·to refresh his recollection.· They didn't ask

·4· · · · ·about the substance of Costco's request for a

·5· · · · ·sticker.· They didn't ask about Adamo and

·6· · · · ·Bondarev, and they didn't ask about Axthelm's

·7· · · · ·communications.

·8· · · · · · · · · Here is what they did.· Go to the next

·9· · · · ·slide.· This was the question -- they asked

10· · · · ·him:

11· · · · · · · · · "Did you meet with Costco on

12· · · · ·January 31, 2014?"

13· · · · · · · · · Keep in mind.· This is against the

14· · · · ·background that the declarations that you saw

15· · · · ·before had already been written in August of

16· · · · ·2014.· Excuse me.

17· · · · · · · · · Rogers said he had difficulty

18· · · · ·remembering the date, what he did on random

19· · · · ·days five years earlier.· You were talking

20· · · · ·about -- five years ago was his testimony.

21· · · · · · · · · Without showing him any documents, he

22· · · · ·did -- he said:

23· · · · · · · · · "I looked at Costco very frequently,

24· · · · ·so I cannot answer that question

25· · · · ·definitively."


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·2· · · · · · · · · At that point that's -- that is clear

·3· · · · ·opportunity to refresh his recollection, which

·4· · · · ·Ms. Brannon, who was taking that deposition,

·5· · · · ·did not do.· Let's go to the next slide.

·6· · · · · · · · · We then have the second argument,

·7· · · · ·which I quite frankly found amazing, about

·8· · · · ·these litigation holds.

·9· · · · · · · · · The fact of the matter is Keurig sued

10· · · · ·Rogers for patent infringement.· At -- at the

11· · · · ·time of that litigation, which started in --

12· · · · ·on December 2011 through May 2014 --

13· · · · ·specifically during the scope of the PI

14· · · · ·hearing and the conversation in January 2014,

15· · · · ·Rogers was under a litigation hold caused by

16· · · · ·the Keurig litigation.

17· · · · · · · · · As a consequence there would never

18· · · · ·have been a situation in which any of his

19· · · · ·notes, if he had any, would have been lost.

20· · · · ·I'm going to ignore the argument about:

21· · · · · · · · · "Well, they should have filed a

22· · · · ·litigation hold sooner.· They didn't have to.

23· · · · ·They were already under a litigation hold

24· · · · ·involving the same parties, except different

25· · · · ·issues.


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·2· · · · · · · · · Now, let's go back and look at what he

·3· · · · ·did say about this meeting.· They specifically

·4· · · · ·said:

·5· · · · · · · · · "Do you remember a meeting with Costco

·6· · · · ·in early 2014 when they told you that you

·7· · · · ·would need a label -- to label the OneCUPs as

·8· · · · ·not being compatible with the 2.0 brewer, if

·9· · · · ·they were, in fact, not compatible?"

10· · · · · · · · · Answer:· "I don't recall that specific

11· · · · ·meeting, no.· But this was -- I do remember

12· · · · ·that was one of the topics of discussion, one

13· · · · ·of the possible solutions."

14· · · · · · · · · That answer under -- under normal

15· · · · ·litigation circumstances would have

16· · · · ·immediately resulted in the witness being

17· · · · ·shown the declarations that I have just shown

18· · · · ·you.· They did not.· And he gave them the best

19· · · · ·of his recollection five years later.

20· · · · · · · · · And they're saying:

21· · · · · · · · · "All you guys have hidden something

22· · · · ·from us, and there was -- there had to be some

23· · · · ·spoliation in this case."

24· · · · · · · · · Let's go to the next slide.

25· · · · · · · · · Now, the amazing part about these


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·2· · · · ·handwritten notes is Keurig met with every

·3· · · · ·major retailer in the country.· You can see it

·4· · · · ·there:· Costco, Walmart, Kohl's, Macy's,

·5· · · · ·Target, Bed Bath & Beyond, BJ's, Ahold, and

·6· · · · ·Sam's Club.

·7· · · · · · · · · Not one time did a Keurig witness ever

·8· · · · ·produce any handwritten notes from any of

·9· · · · ·those communications, not one.

10· · · · · · · · · Somehow, though, they are arguing that

11· · · · ·Jim Rogers must have, but that -- but let's

12· · · · ·look at what Rogers said about notes.

13· · · · · · · · · Go to the next slide.

14· · · · · · · · · You know what?· I think I rolled past

15· · · · ·it, Your Honor.· It was in the front, but

16· · · · ·basically what it says -- I'm sorry.

17· · · · · · · · · JUDGE CAVE:· I remember seeing it

18· · · · ·earlier.

19· · · · · · · · · MR. JOHNSON:· Yes, okay.· But,

20· · · · ·basically, what Rogers said is:

21· · · · · · · · · "I don't remember if I had any notes,

22· · · · ·but it's not my practice to throw my notes

23· · · · ·away."

24· · · · · · · · · That cannot be the basis for a

25· · · · ·spoliation claim.· It is simply speculation.


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·2· · · · ·But worse than that, it is saying:

·3· · · · · · · · · "It's okay if we don't have any notes,

·4· · · · ·and -- even though we have launched this

·5· · · · ·national campaign against unlicensed products;

·6· · · · ·but it's not okay if you didn't have notes."

·7· · · · · · · · · It is simply not to be believed.· So

·8· · · · ·the question is -- and the question is:

·9· · · · · · · · · If you just looked at the handwritten

10· · · · ·notes, as a matter of law it doesn't matter.

11· · · · ·And I think the Al Otro Lado case is -- sadly

12· · · · ·in Southern California -- but it said, after

13· · · · ·voluminous discovery, that spoliated meeting

14· · · · ·notes like these are certainly not the only

15· · · · ·source of evidence in support of plaintiff's

16· · · · ·claim.

17· · · · · · · · · And it is unequivocally clear, as I

18· · · · ·have just shown you, that, in fact, there was

19· · · · ·ample evidence to -- to describe what happened

20· · · · ·on the January 31st meeting.· And Keurig had

21· · · · ·the opportunity to depose not only Mr. Rogers,

22· · · · ·but also Mr. Sarina -- also look at the PI

23· · · · ·papers; and, finally, it had the ability to

24· · · · ·depose Costco personnel who attended the

25· · · · ·meeting.


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·2· · · · · · · · · And the only one it deposed was

·3· · · · ·Ms. Axthelm, and they never asked anything

·4· · · · ·about the substance.

·5· · · · · · · · · I can't think of a more frivolous

·6· · · · ·argument to make that somehow Rogers -- now,

·7· · · · ·remember, after all of this litigation, the

·8· · · · ·only thing they were asking -- they only claim

·9· · · · ·was spoliated was Jim Rogers' notes, which is

10· · · · ·extraordinary given the contentious level of

11· · · · ·this litigation.

12· · · · · · · · · And, now, we know, "A," he didn't take

13· · · · ·notes or he didn't remember it; but, more than

14· · · · ·that, they knew everything that was talked

15· · · · ·about based on the declarations and the email

16· · · · ·that they did not bother to put in front of

17· · · · ·this Court.

18· · · · · · · · · Go to the next slide.· So when you

19· · · · ·look at the questions of evidence and you look

20· · · · ·at the question of prejudice -- and I just --

21· · · · ·I am not even going to belabor the point --

22· · · · ·there was no prejudice.

23· · · · · · · · · They had the ability to get all of the

24· · · · ·information.· They, in fact, already had it,

25· · · · ·and they conveniently ignored it.


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·2· · · · · · · · · Now, yesterday, you told me that you

·3· · · · ·did not want me to make any comments that you

·4· · · · ·thought would impugn somebody's integrity; so

·5· · · · ·I am not going to do that.

·6· · · · · · · · · But what I am going to say is I do not

·7· · · · ·believe they were ignorant of the entire

·8· · · · ·record in this case when they argued for weeks

·9· · · · ·in the PI hearing over Costco's statement.· It

10· · · · ·found its way into the judge's opinion.

11· · · · · · · · · They relied on it; and they came

12· · · · ·before you now causing my client to spend even

13· · · · ·more money to defend itself and didn't bother

14· · · · ·to tell you what the true facts were.

15· · · · · · · · · I have got nothing further to say.              I

16· · · · ·will respond to anything else you have.

17· · · · · · · · · JUDGE CAVE:· No, that about covers it,

18· · · · ·Mr. Johnson.

19· · · · · · · · · Okay.· Mr. Mukhi, you have a little

20· · · · ·over 15 minutes.

21· · · · · · · · · MR. MUKHI:· Okay.· If Mr. Johnson

22· · · · ·could stop sharing -- thank you very much.

23· · · · ·So, Your Honor, I will start with JBR if

24· · · · ·that's okay.· It's just most recent.

25· · · · · · · · · I can respond quickly -- can you see


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·2· · · · ·that okay, Your Honor?

·3· · · · · · · · · Okay.· So really I can cut through

·4· · · · ·this.· The key point on the declaration and

·5· · · · ·testimony that Mr. Johnson was citing -- he

·6· · · · ·cited an argument; it wasn't cited in their

·7· · · · ·opposition or even the stipulation and the

·8· · · · ·declarations and the testimony from Jon Rogers

·9· · · · ·and Mr. Sarina.

10· · · · · · · · · The key point is they have now

11· · · · ·stipulated -- I have a stipulation up on the

12· · · · ·screen -- it's 1532 at 167 to 168 -- the next

13· · · · ·page, we agree -- the parties agree that the

14· · · · ·only JBR attendee of that meeting was Jim

15· · · · ·Rogers.· That is stipulated.

16· · · · · · · · · So by definition, any testimony

17· · · · ·declaration, et cetera, from JBR came from Jim

18· · · · ·Rogers, who no longer recalls the meeting and

19· · · · ·said -- usually -- you have the testimony, so

20· · · · ·I won't repeat it.

21· · · · · · · · · But our argument is that, if you look

22· · · · ·at the testimony, it's clear that the usual

23· · · · ·practice would be to throw out any notes.· You

24· · · · ·can -- I put the declaration up.· You will

25· · · · ·have the dec.· You can see they don't say that


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·2· · · · ·they attended the meeting -- Mr. Sarina.

·3· · · · · · · · · We were able to quickly apologize for

·4· · · · ·the formatting.· We were able to quickly pull

·5· · · · ·one of Sarina's testimony cites while

·6· · · · ·Mr. Johnson was up.

·7· · · · · · · · · Mr. Sarina is very clear, as I stated

·8· · · · ·later -- Jim Rogers handled the meeting.· And

·9· · · · ·so it all comes back to Jim Rogers so -- and

10· · · · ·the declaration of Jon Rogers, I think

11· · · · ·Mr. Johnson quoted it accurately; but you will

12· · · · ·notice it says "I am aware that" and then just

13· · · · ·parrots what is in the complaint.

14· · · · · · · · · And given the stipulation, we very

15· · · · ·much think the Court can and should find that

16· · · · ·it all stems from Jim Rogers stipulated only

17· · · · ·as to the JBR attendee and he can't recall the

18· · · · ·meeting.

19· · · · · · · · · I went through the emails yesterday.

20· · · · ·I won't go through them today.· Your Honor

21· · · · ·will see they don't contain substance and so

22· · · · ·we don't have access to the substance of the

23· · · · ·meeting.

24· · · · · · · · · Just two points on customer notes:

25· · · · · · · · · We did provide detailed ESI summaries


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·2· · · · ·of meetings.· There are handwritten notes, but

·3· · · · ·detailed ESI summaries of meetings.· And

·4· · · · ·our -- our preclusion order is narrow where

·5· · · · ·it's related to the alleged content of the

·6· · · · ·meeting that nobody recalls.

·7· · · · · · · · · And I think it's highlighted a bit

·8· · · · ·today -- they are going to try to put on

·9· · · · ·evidence from witnesses that are not competent

10· · · · ·at trial to testify, and we have no

11· · · · ·contemporaneous evidence from Jim Rogers that

12· · · · ·that preclusion order is -- is appropriate.

13· · · · · · · · · And I would just add, before I get to

14· · · · ·Mr. Badini's arguments and TreeHouse, we would

15· · · · ·not disrupt summary judgment with a preclusion

16· · · · ·order by Your Honor -- either of our motions.

17· · · · ·We were very clear that we were asking for

18· · · · ·limits of testimony at trial, any trial.

19· · · · · · · · · We don't think there should be a trial

20· · · · ·because our -- I am not going to get into

21· · · · ·that -- I believe our motion for summary

22· · · · ·motion should and will be granted, but that --

23· · · · ·I wanted to make that clear for Your Honor.

24· · · · · · · · · So, Your Honor, let me talk about

25· · · · ·TreeHouse; and I'm going to start with a point


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·2· · · · ·Mr. Badini made, and he said -- he went back

·3· · · · ·to his November 15th dec if you remember.

·4· · · · · · · · · And he pointed to this slide number

·5· · · · ·eight -- I just reproduced what we had earlier

·6· · · · ·in the dec -- and number one was legal action.

·7· · · · ·And that's where we have that testimony.

·8· · · · · · · · · And what he said -- and -- and he is

·9· · · · ·right that, in the exhibit before Your Honor,

10· · · · ·the next page skips to a step two, and it

11· · · · ·doesn't cover step one.· And he said that

12· · · · ·there were no redactions in that document.

13· · · · · · · · · He's right about that document before

14· · · · ·Your Honor.· But this is the same dec -- and

15· · · · ·we have the TreeHouse Bates stamp there.· You

16· · · · ·have a redaction of number one -- sorry -- a

17· · · · ·version of that dec, I should say.· I should

18· · · · ·be precise.

19· · · · · · · · · And this version, if you go to the

20· · · · ·next page, it actually has one, and it's

21· · · · ·redacted.· And it is a redacted PowerPoint

22· · · · ·reflecting confidential privileged

23· · · · ·communications with counsel including Foley &

24· · · · ·Lardner concerning the Keurig 2.0 brewer

25· · · · ·launch.


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·2· · · · · · · · · Now, they asserted attorney client,

·3· · · · ·not attorney work product.· At that point we

·4· · · · ·had raised our issues with why there was no

·5· · · · ·preservation during the time frame.· They're

·6· · · · ·good lawyers.· They did not at that time

·7· · · · ·assert attorney work product.

·8· · · · · · · · · You heard today and yesterday that

·9· · · · ·TreeHouse is now withdrawing the claims of

10· · · · ·work product over the Project Charter letter.

11· · · · ·We think Your Honor should consider the

12· · · · ·obvious circumstances running through that now

13· · · · ·and clarifying that now.

14· · · · · · · · · We would also note the testimony

15· · · · ·before from Mr. Vermilion.· You saw it.· He --

16· · · · ·the legal action against Keurig -- he's member

17· · · · ·of Project Charter.

18· · · · · · · · · It's stipulated that at minimum he was

19· · · · ·invited to this meeting where they discussed

20· · · · ·legal action.· We think he attended.· So it

21· · · · ·wasn't that there was no foundation for

22· · · · ·Mr. Vermilion to testify to this based on his

23· · · · ·personal knowledge.

24· · · · · · · · · And then I would just say -- I would

25· · · · ·respond to the point Mr. Badini has been


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·2· · · · ·making over the last two days that really

·3· · · · ·TreeHouse is anticipating Keurig would sue

·4· · · · ·TreeHouse.· There is no -- nothing in the

·5· · · · ·record for that.

·6· · · · · · · · · And I would just like to -- to add,

·7· · · · ·Your Honor -- you asked a question about Sturm

·8· · · · ·and when that resolved.· And Mr. Badini said

·9· · · · ·June 2013 -- or the settlement -- I believe

10· · · · ·he's correct with that -- about that.

11· · · · · · · · · But just to provide Your Honor

12· · · · ·complete information, there was a non -- there

13· · · · ·was a non-settled piece of Sturm; and that

14· · · · ·decision came down in October of 2015.· But,

15· · · · ·Your Honor, this is a month after.· This is

16· · · · ·November '15, this dec, that we have the

17· · · · ·blacked-out page about discussions with Foley

18· · · · ·& Lardner.

19· · · · · · · · · So I wanted to provide Your Honor that

20· · · · ·information.

21· · · · · · · · · And I would just point out there is no

22· · · · ·evidence about Keurig -- you know, TreeHouse

23· · · · ·thinking:

24· · · · · · · · · "Oh, Keurig is going to sue us again.

25· · · · ·If you look at that PR memo from December --


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·2· · · · ·H&K [phonetic] memo -- it was earlier -- it

·3· · · · ·doesn't talk about -- December 3rd I think --

·4· · · · ·they don't say anything about "Keurig's going

·5· · · · ·to sue us."

·6· · · · · · · · · It was all about:

·7· · · · · · · · · "Let's sue Keurig -- class action

·8· · · · ·plaintiff -- maybe it will be side-by-side

·9· · · · ·with TreeHouse.· The class action will

10· · · · ·represent purchasers of TreeHouse unlicensed."

11· · · · · · · · · And so there is nothing in the record

12· · · · ·that that's what they were anticipating some

13· · · · ·sort of defensive -- I think Your Honor has

14· · · · ·seen the context.· I think there is a phrase:

15· · · · · · · · · "A good offense" -- or I think it's "A

16· · · · ·good defense is offense" regard -- I think

17· · · · ·that's what the documents show.· They were

18· · · · ·playing defense by anticipating suing Keurig

19· · · · ·defending their business.

20· · · · · · · · · I want to spend time, Your Honor, on

21· · · · ·Enterprise Vault, which I will get to --

22· · · · ·because you may have noticed in TreeHouse's

23· · · · ·brief, they mention Enterprise Vault twice,

24· · · · ·but they never said Enterprise Vault filled

25· · · · ·the data gaps that we identified in their


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·2· · · · ·briefs.

·3· · · · · · · · · And to be very, very clear, our

·4· · · · ·analysis of those charts showing data

·5· · · · ·deficiency included emails produced from

·6· · · · ·whatever the source, whether Enterprise --

·7· · · · ·Enterprise Vault or otherwise, however it was

·8· · · · ·retained -- a Sturm hold, a Keurig litigation

·9· · · · ·hold, Enterprise Vault -- however.

10· · · · · · · · · And so it's all covered.· It doesn't

11· · · · ·change that analysis.· But, yesterday, we had

12· · · · ·Mr. Badini -- and today up on the slide, every

13· · · · ·custodian, he said, you know, referring to

14· · · · ·that Enterprise -- September 30th, I believe

15· · · · ·it is -- or September 2013 -- use of the

16· · · · ·journalling -- Enterprise Vault -- yesterday

17· · · · ·he said, quote, "blows up our entire motion."

18· · · · · · · · · He said that, if a custodian tried to

19· · · · ·do even email, it accomplished nothing because

20· · · · ·that email was preserved in Enterprise Vault

21· · · · ·and TreeHouse reviewed it and "we" produced it

22· · · · ·from the custodian Enterprise Vault.

23· · · · · · · · · And we checked this before, and we

24· · · · ·have rechecked it last night.· And we want to

25· · · · ·look at the proof because we thought it was


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·2· · · · ·important to check that statement, broad

·3· · · · ·statement carefully.· And here is what we

·4· · · · ·found.

·5· · · · · · · · · And, Your Honor, we tried to limit

·6· · · · ·ourselves to the motions record with the

·7· · · · ·variations that I'll flag for you; but this is

·8· · · · ·what we found.

·9· · · · · · · · · So this is an email sent to

10· · · · ·Mr. Lemieux in November of 2013.· It's a

11· · · · ·critical email.· It's the Project Charter dec

12· · · · ·we have been talking about even just now,

13· · · · ·November '15 -- and it was only produced from

14· · · · ·Bill Ford's file.

15· · · · · · · · · So it says he's the custodian, and,

16· · · · ·importantly, there is no duplicate custodian

17· · · · ·listed as Mr. Lemieux.· We received one copy

18· · · · ·of this email, and it was from Bill Ford.

19· · · · · · · · · And so what can you deduce from that?

20· · · · · · · · · JUDGE CAVE:· That they produce it.

21· · · · · · · · · MR. MUKHI:· No, Your Honor --

22· · · · · · · · · JUDGE CAVE:· Why not?

23· · · · · · · · · MR. MUKHI:· Because you see the

24· · · · ·"B. Ford duplicate custodian"?

25· · · · · · · · · That is the point of that deal, is


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·2· · · · ·that there is transparency when you are

·3· · · · ·de-duplicating.· You put in who else it was

·4· · · · ·de-duped from, and you would put in -- if

·5· · · · ·Craig Lemieux -- if there was a version of

·6· · · · ·this in Enterprise Vault from Craig Lemieux or

·7· · · · ·from his mailbox or from a Sturm hold or

·8· · · · ·whatever fail-safe they set, he would be in

·9· · · · ·that field, Craig Lemieux.· He's not.

10· · · · · · · · · JUDGE CAVE:· Okay.· But setting that

11· · · · ·aside, you haven't lost the email.· You

12· · · · ·haven't been prejudiced.

13· · · · · · · · · MR. MUKHI:· But, Your Honor, that's

14· · · · ·why we showed the -- the gap.· Our point is

15· · · · ·that -- that we got lucky because there is

16· · · · ·William Ford as one of the custodians.· And we

17· · · · ·got this one copied.

18· · · · · · · · · But for all of the other emails where

19· · · · ·there is -- Craig Lemieux is sending that

20· · · · ·there aren't custodians on -- I have got to

21· · · · ·just step back.

22· · · · · · · · · Craig Lemieux is a critical witness.

23· · · · ·He is the general manager of Sturm.· That is

24· · · · ·the company that TreeHouse bought that

25· · · · ·manufactured portion packs.· That is how they


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·2· · · · ·got into the business.· They started on -- to

·3· · · · ·enter, and they entered successfully after

·4· · · · ·starting in 2009.· They entered in 2010

·5· · · · ·successfully with an unfiltered and then in

·6· · · · ·2012 with a filter.

·7· · · · · · · · · This was the guy who was running that

·8· · · · ·project.· And so I just want to emphasize,

·9· · · · ·Your Honor -- I'll skip ahead a bit -- because

10· · · · ·this is critical -- these are the production

11· · · · ·counts for Craig Lemieux.

12· · · · · · · · · Okay.· And these are from our figure.

13· · · · ·If you look at 2009, zero, okay.· 2010 when

14· · · · ·they say TreeHouse has to be put on Sturm

15· · · · ·hold, 130.· 2011, 193.

16· · · · · · · · · They are launching single-serve

17· · · · ·business at this time.· This is the guy in

18· · · · ·charge; and there's 193 emails.

19· · · · · · · · · 2012, they launched filter, 387.

20· · · · · · · · · 2013, this is supposedly when the

21· · · · ·journalling starts with Enterprise Vault.· We

22· · · · ·should be -- the journalling -- they say the

23· · · · ·Sturm hold is a fail-safe -- we get 378.

24· · · · · · · · · What happens in 2014?· You get a

25· · · · ·Keurig hold.· And you -- this is not a gradual


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·2· · · · ·increase case.· That's a hockey stick.

·3· · · · · · · · · 378 to 6,689.

·4· · · · · · · · · Your Honor, that is evidence of loss.

·5· · · · ·That is evidence that the belt and suspenders

·6· · · · ·that Mr. Badini described was not working.

·7· · · · · · · · · There are two explanations.· Either --

·8· · · · ·and I will go back because they talked about

·9· · · · ·Spratlin, and they have additional emails.

10· · · · ·These are additional emails.· They're

11· · · · ·variations of the Ari Jones email.

12· · · · · · · · · And if you look at the top one, again,

13· · · · ·this is the -- this should be the period where

14· · · · ·Enterprise Vault is journalling; Mr. Lemieux

15· · · · ·is under a hold according to them and Sturm;

16· · · · ·it's a critical email; it's that Ari Jones

17· · · · ·email.

18· · · · · · · · · It's not an issue of search term

19· · · · ·predictive coding.

20· · · · · · · · · It's clear as day like the last one.

21· · · · ·It's responsive, but we don't get it from

22· · · · ·Craig Lemieux.· He's not a duplicate

23· · · · ·custodian.· There is no Enterprise Vault

24· · · · ·version.· There is no version in his inbox.

25· · · · · · · · · The next one, Mr. Badini says Ken


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·2· · · · ·[phonetic] Spratlin pressed the button.· It

·3· · · · ·was like the dummy elevator button.

·4· · · · · · · · · But, look, Your Honor, that's another

·5· · · · ·version of that same critical email.· He -- a

·6· · · · ·custodian -- correct.

·7· · · · · · · · · But what about all the email where

·8· · · · ·there is not a custodian that's involving

·9· · · · ·Ken Spratlin.· He's playing a critical,

10· · · · ·critical role.

11· · · · · · · · · And, again, the point is, Your Honor,

12· · · · ·the hockey stick when the hold goes in effect.

13· · · · ·That is the cause and effect.· Before the

14· · · · ·hold, there is no fail safe.· There is not

15· · · · ·email to indicate preservation.

16· · · · · · · · · After the hold was done, it's the

17· · · · ·hockey stick effect.· That's our point.

18· · · · · · · · · JUDGE CAVE:· Yeah, but what support do

19· · · · ·you -- Mr. Badini said there is no case that

20· · · · ·does that.· I haven't seen one.· So what

21· · · · ·allows me to rely on a hockey stick chart?

22· · · · · · · · · MR. MUKHI:· Your Honor, there's no

23· · · · ·hockey stick case.· I agree with that.

24· · · · · · · · · But we think that this case and the

25· · · · ·work we have put into it -- I would say, Your


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·2· · · · ·Honor, this is the -- let me step back.

·3· · · · · · · · · We tried and tried -- and this

·4· · · · ·responds to another one of Mr. Badini's

·5· · · · ·points.

·6· · · · · · · · · You know, they call it a distraction.

·7· · · · ·Your Honor, I would encourage you to look at

·8· · · · ·how hard we tried to engage with TreeHouse's

·9· · · · ·counsel in the record.· I won't characterize

10· · · · ·it.· Your Honor should look.

11· · · · · · · · · But we tried, and we got stonewalled,

12· · · · ·I have to say.· And so we have to do this

13· · · · ·work.· We asked for the "custodian other"

14· · · · ·field.· I understand Your Honor denied that.

15· · · · ·We are not fighting that.· You said it was not

16· · · · ·required by the ESI order.

17· · · · · · · · · We are working with what we have.· We

18· · · · ·said -- and, Your Honor, we asked about

19· · · · ·Enterprise Vault; and I'll give you the

20· · · · ·background of that.

21· · · · · · · · · We said:· "Did you collect from

22· · · · ·Enterprise Vault?"

23· · · · · · · · · They said:· "Yes, we collected from

24· · · · ·Enterprise Vault."

25· · · · · · · · · We said:· "Can you confirm that you


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·2· · · · ·collected from all of the custodians from

·3· · · · ·Enterprise Vault?"

·4· · · · · · · · · They said, "No, ask our 30(b)(6)

·5· · · · ·witness."

·6· · · · · · · · · And what we got from the 30(b)(6)

·7· · · · ·witness -- I am sure Mr. Badini quoted it

·8· · · · ·accurately -- was the same argument you got

·9· · · · ·from Mr. Badini:

10· · · · · · · · · "This is a fail-safe.· We are perfect.

11· · · · ·Nothing was deleted."

12· · · · · · · · · I mean, Your Honor, you have to -- I

13· · · · ·think it goes back to Ms. Newton's fundamental

14· · · · ·point, which is:

15· · · · · · · · · How do you determine what is true?

16· · · · · · · · · Our submission is:

17· · · · · · · · · You look at the proof.· You look at

18· · · · ·the data.· You look at the email.

19· · · · · · · · · If -- if one party doesn't cooperate

20· · · · ·and you just get, "No, no, no," and they're

21· · · · ·rewarded because we have to use the data and

22· · · · ·they won't give answers, and the other side

23· · · · ·cooperates -- and I just think it creates bad

24· · · · ·incentives.

25· · · · · · · · · I won't belabor it further, but


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·2· · · · ·that -- that's our point, Your Honor.· And

·3· · · · ·then I will just -- I will wrap up.

·4· · · · · · · · · On preservation, Mr. Badini argued

·5· · · · ·that TreeHouse had a company

·6· · · · ·document-retention policy.· And he suggested

·7· · · · ·that that could suffice -- suffice for

·8· · · · ·witnesses who did not individually receive

·9· · · · ·timely preservation notices.

10· · · · · · · · · We do not believe that is correct.

11· · · · ·The case law in this district is clear.· The

12· · · · ·party must send a written litigation

13· · · · ·preservation notice.· That Passologix case,

14· · · · ·which I believe Mr. Badini cited, that that's

15· · · · ·been rule in this district since "Zublocki"

16· · · · ·[phonetic] four -- Mr. Badini is correct that

17· · · · ·the Second Circuit held under Chin that lack

18· · · · ·of a hold is not gross negligence, per se.

19· · · · · · · · · That is the law, but he is also

20· · · · ·correct -- he quoted it accurately -- you look

21· · · · ·at the totality of the preservation efforts;

22· · · · ·and we don't think they did it here under that

23· · · · ·standard.

24· · · · · · · · · And I just want to say a general

25· · · · ·company document retention policy is not the


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·2· · · · ·same as an individual written litigation hold

·3· · · · ·sent to the witness on the subject matter of

·4· · · · ·the litigation.· That's different than a

·5· · · · ·general corporate policy.· And Mr. Badini did

·6· · · · ·not cite any case.

·7· · · · · · · · · He's right.· To the extent he's

·8· · · · ·arguing ipso facto, he's correct.· And I

·9· · · · ·cite -- I refer the Court -- it's cited by JBR

10· · · · ·in their brief -- to In Re:· Sy-Bin

11· · · · ·[phonetic] -- it's a Judge Pitman decision.

12· · · · ·Your Honor is probably familiar with that, but

13· · · · ·it's a long decision.

14· · · · · · · · · It's 288 FRD 297, and a "pen" cite on

15· · · · ·this is 326.

16· · · · · · · · · And there Judge Pitman explained how

17· · · · ·policy can be a factor.· And in that case you

18· · · · ·had a document retention policy.· You had

19· · · · ·additional factors like a state law

20· · · · ·requirement.· I believe it was a health care

21· · · · ·related issue, and there was a state law

22· · · · ·requirement to preserve as well as the

23· · · · ·document retention policy.

24· · · · · · · · · And that's not argued here.· And

25· · · · ·Judge Pitman looked at those two things and


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·2· · · · ·said it was still negligent not to issue a

·3· · · · ·timely written litigation hold before -- he

·4· · · · ·then went on -- he didn't find sanctions

·5· · · · ·because he found lack of relevancy to be

·6· · · · ·clear.

·7· · · · · · · · · I think we've satisfied that here as

·8· · · · ·we have explained, but that's -- that's an

·9· · · · ·instructive decision on this policy point.

10· · · · · · · · · We also -- on a different policy

11· · · · ·point -- is we don't disagree that supplements

12· · · · ·are good policy.· There should be supplements,

13· · · · ·of course, to document preservation holds.

14· · · · · · · · · But they still have to be timely.· And

15· · · · ·at least -- and we did it for all of them --

16· · · · ·and I want to be very clear:

17· · · · · · · · · With Spratlin and Clark, they were on

18· · · · ·Project Charter.· It's not just that one email

19· · · · ·from Mr. Spratlin.· Look at the Project

20· · · · ·Charter team -- and we have it in your dec.

21· · · · ·They are on Project Charter.· That is a

22· · · · ·handy-dandy key players list.

23· · · · · · · · · Is everyone a hold who is on that

24· · · · ·page?· And they don't get Spratlin and

25· · · · ·Clark -- Spratlin's email goes in the


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·2· · · · ·complaint.· It supports a count in the

·3· · · · ·complaint.

·4· · · · · · · · · So, Your Honor, I think on that one

·5· · · · ·it's very clear.· I think on a lot of them

·6· · · · ·it's clear.

·7· · · · · · · · · I do thank you for all of the time,

·8· · · · ·and thank you and counsel, Your Honor, for

·9· · · · ·accommodating my conflict tomorrow.· I believe

10· · · · ·Ms. Newton wanted to raise one housekeeping

11· · · · ·point that we have a couple of minutes.· Thank

12· · · · ·you, Your Honor.

13· · · · · · · · · JUDGE CAVE:· Go ahead.

14· · · · · · · · · MS. NEWTON:· Yes, Your Honor, just --

15· · · · ·just a housekeeping real quick, and I just

16· · · · ·jumped on Ms. Baird's computer so I don't --

17· · · · · · · · · JUDGE CAVE:· Yes, I see you.

18· · · · · · · · · MS. NEWTON:· You had asked that the

19· · · · ·slides be filed.· And I just wanted to ask how

20· · · · ·you wanted to handle that particularly with

21· · · · ·respect to confidential -- you were going to

22· · · · ·do it?

23· · · · · · · · · JUDGE CAVE:· Yes, I was going to get

24· · · · ·to that.· Yes.

25· · · · · · · · · So what I was going to ask is, if the


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·2· · · · ·parties, no later than next Friday, which is

·3· · · · ·January 7th -- I'm sorry -- January 21st, if

·4· · · · ·the parties could file the redacted versions

·5· · · · ·of the transcript of the hearing and the

·6· · · · ·slides.

·7· · · · · · · · · And then I guess you could file -- you

·8· · · · ·can file and mark for parties and the Court

·9· · · · ·only the unredacted versions of the transcript

10· · · · ·and the slides.

11· · · · · · · · · MS. NEWTON:· Yes, the only thing, Your

12· · · · ·Honor, is I didn't even get to see all the

13· · · · ·slides.

14· · · · · · · · · JUDGE CAVE:· Yeah.

15· · · · · · · · · MS. NEWTON:· So I just need a little

16· · · · ·chance to look at them so that we can move --

17· · · · ·if you want them to move for what parts we

18· · · · ·think should be redacted due to 502(d).

19· · · · · · · · · JUDGE CAVE:· Well, what I was hoping

20· · · · ·you could do is meet and confer and just, you

21· · · · ·know, to -- hopefully, you'll -- you can

22· · · · ·agree.· That is why I was going to give you

23· · · · ·until next Friday, the 21st.

24· · · · · · · · · I am on criminal duty next week

25· · · · ·anyway, so I am not having any Keurig time


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·2· · · · ·during the days next week.

·3· · · · · · · · · So if you think you need more time

·4· · · · ·than that -- but I was hoping to return to

·5· · · · ·this when I come off criminal duty at the end

·6· · · · ·of next week so --

·7· · · · · · · · · MS. NEWTON:· Your Honor, I just need a

·8· · · · ·chance to look at them all.

·9· · · · · · · · · JUDGE CAVE:· Yeah, of course.

10· · · · · · · · · Well, hopefully, what I -- maybe the

11· · · · ·best thing is, if the parties can just

12· · · · ·exchange the slides tonight, and then you have

13· · · · ·until next Friday, the 21st, to file the

14· · · · ·redacted and the unredacted versions.

15· · · · · · · · · MS. NEWTON:· Thank you, Your Honor.

16· · · · · · · · · JUDGE CAVE:· Okay.· Is that all right

17· · · · ·with you, Ms. Torpey?

18· · · · · · · · · MS. TORPEY:· Yeah, that -- that is

19· · · · ·fine; and, Your Honor, we -- we have one

20· · · · ·additional small point to make.

21· · · · · · · · · JUDGE CAVE:· Sure.

22· · · · · · · · · MS. TORPEY:· So, Your Honor, one of

23· · · · ·the challenges we have faced in this motion is

24· · · · ·that, because Keurig's spoliation affected so

25· · · · ·many custodians, there weren't enough pages in


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·2· · · · ·the briefs or covered in the hearing -- and I

·3· · · · ·won't make anyone sit anymore -- to focus on

·4· · · · ·the relevance of each individual counterparty

·5· · · · ·on an individual basis.

·6· · · · · · · · · And, yesterday, you had suggested that

·7· · · · ·you planned to decide remedies on a

·8· · · · ·custodian-by-custodian basis.· And while we

·9· · · · ·think that would permit Keurig to get the

10· · · · ·benefit from its spoliation for the reasons we

11· · · · ·discussed yesterday that I won't belabor, if

12· · · · ·you plan to distinguish between custodians on

13· · · · ·the basis of their relevancy as opposed to the

14· · · · ·spoliated materials, we respectfully request

15· · · · ·the opportunity to provide a supplement for

16· · · · ·our motion that would set forth the connection

17· · · · ·each custodian has to the issues in the case,

18· · · · ·to which, of course, Keurig would be free to

19· · · · ·respond.

20· · · · · · · · · JUDGE CAVE:· Yeah, I really don't want

21· · · · ·any more briefs.· What I can say is, just

22· · · · ·sitting here right now, the spoliation of a

23· · · · ·custodian is more important than the relevance

24· · · · ·because I -- I think we are talking about all

25· · · · ·of these people because they touched something


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·2· · · · ·in this case, and I realize that's not the

·3· · · · ·standard for choosing if somebody is a

·4· · · · ·custodian.

·5· · · · · · · · · But I kind of am operating on the

·6· · · · ·baseline that, if we are talking about them,

·7· · · · ·they are relevant.· So I -- I understand and I

·8· · · · ·may not fully appreciate, as least as I sit

·9· · · · ·here right now, how relevant -- that some

10· · · · ·people are more relevant than others.

11· · · · · · · · · I mean, obviously, some of the big

12· · · · ·people that we have talked about, Lemieux and

13· · · · ·Mr. Rogers, and, obviously, I get that they

14· · · · ·are sort of the top tier.

15· · · · · · · · · But I guess, as I sit here right now,

16· · · · ·I don't see that I need briefing on the

17· · · · ·relevancy of particular custodians.

18· · · · · · · · · The last thing I was going to say,

19· · · · ·just in terms of housekeeping, is, as I

20· · · · ·mentioned at the outset, I have at least

21· · · · ·50 pages into a draft, and I have obviously

22· · · · ·more work to do based on what I have heard and

23· · · · ·what's been submitted -- I am going to reserve

24· · · · ·the right to call you back in about a month or

25· · · · ·sooner if -- depending on how much progress I


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·2· · · · ·can make, if I have additional questions that

·3· · · · ·come up as I am drafting.

·4· · · · · · · · · So we may not need a full Zoom like we

·5· · · · ·have done.· I am hoping that if it's -- if

·6· · · · ·it's anything, it can be covered in a

·7· · · · ·telephone conference.

·8· · · · · · · · · And probably what I would do, because

·9· · · · ·it was very helpful, is I would give an order

10· · · · ·that lists the questions again and give you

11· · · · ·time to prepare.· But, hopefully, I won't need

12· · · · ·to do that, but there's a -- there's a lot

13· · · · ·that we have covered, and I just -- I really

14· · · · ·want to make sure that I get everything right

15· · · · ·so --

16· · · · · · · · · MR. BADINI:· Your Honor, speaking for

17· · · · ·TreeHouse, we appreciate that, and we have no

18· · · · ·problem.· As long as it takes, we want you to

19· · · · ·get it right, too.

20· · · · · · · · · JUDGE CAVE:· Okay.· All right.· Well,

21· · · · ·thank you everyone for resuming today.· I am

22· · · · ·glad we were able to get to the finish line.

23· · · · · · · · · Thank you, Mr. Prewett, for your fast

24· · · · ·fingers today.· I wish everyone a good

25· · · · ·evening, and you will hear more from me in due


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·2· · · · ·course.· And if we can get the transcripts and

·3· · · · ·the slides on by next Friday, the 21st, we

·4· · · · ·will be in good shape.· So thank you everyone.

·5· · · · ·Have a great evening.

·6· · · · · · · · · (There was a discussion off the

·7· · · · ·record.)

·8· · · · · · · · · (The hearing adjourned at

·9· · · · ·5:48 p.m. EST.)

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·2· · · · · · · · · · ·CERTIFICATE

·3

·4·   · · · · · ·I, TAB PREWETT, A Registered Professional
· ·   ·Reporter, Notary Public, Certified LiveNote
·5·   ·Reporter, and Certified Shorthand Reporter, do
· ·   ·hereby certify that the foregoing is a true and
·6·   ·accurate transcript of the proceedings as taken
· ·   ·stenographically by and before me at the time, place
·7·   ·and on the date hereinbefore set forth.

·8

·9·   · · · · · · · · I DO FURTHER CERTIFY that I am neither
· ·   ·a relative nor employee nor attorney nor counsel of
10·   ·any of the parties to this action, and that I am
· ·   ·neither a relative nor employee of such attorney or
11·   ·counsel, and that I am not financially interested in
· ·   ·the action.
12

13
· · ·_________________________________________
14· ·TAB PREWETT

15
· · ·Notary Public
16

17
· · ·Dated:· January 17, 2022
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